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                              United States District Court
                              Southern District Of Florida

   United States of America      )
         Plaintiff,              )
   v.                            )      Case No. 16-20549-Cr-Scola/Otazo-Reyes
                                 )
   Philip Esformes, et al.,      )
          Defendants.            )
   ______________________________/

          Order on Government’s Objections (ECF No. 931) and Defendant’s
       Objections (ECF No. 933) to Report and Recommendation (ECF No. 899)

         This matter is before the Court on the Government’s objections (ECF No.
   931) and Defendant Philip Esformes’s objections (ECF No. 933) to the Report
   and Recommendation (ECF No. 899) (hereafter, “Report”) entered by Magistrate
   Judge Otazo-Reyes on August 10, 2018. The Court referred Esformes’s Motion
   to Disqualify the Prosecution Team for Systematic Violations of the Attorney-
   Client, Work Product and Joint Defense Privileges (hereafter, “Motion to
   Disqualify”) (ECF No. 275) and Motion to Dismiss Indictment, in Whole or in
   Part, Suppress Evidence and/or Sever Counts 32 & 33 and Exclude the
   Obstruction Evidence (hereafter, “Motion to Dismiss”) (ECF No. 278) to
   Magistrate Judge Otazo-Reyes. Judge Otazo-Reyes held nine days of
   evidentiary hearings in October, November and December 2017. Judge Otazo-
   Reyes also held oral arguments in March 2018 prior to entering her Report.1

   1  A Third Superseding Indictment that post-dates the Motion to Dismiss no
   longer charges the obstruction of justice offense that was previously charged in
   Count 33. See Third Superseding Indictment (ECF No. 869); Second
   Superseding Indictment (ECF No. 200). The filing of the Third Superseding
   Indictment moots the Second Superseding Indictment. Therefore the magistrate
   judge did not address the Motion to Dismiss with respect to Count 33 of the
   Second Superseding Indictment. The obstruction of justice offense that was
   previously charged in Count 32 of the Second Superseding Indictment is now
   charged in Count 34 of the Third Superseding Indictment. Therefore, the
   magistrate judge addressed the Motion to Dismiss with respect to Count 34 of
   the Third Superseding Indictment. In his objections, Esformes appears to
   effectively ask the Court to dismiss the Third Superseding Indictment despite
   the fact that its initial motion was about the Second Superseding Indictment.
   At the oral arguments on November 8, 2018, the Court pointed out to the
   parties that the motions filed by Esformes related to the Second Superseding
   Indictment. Esformes moved ore tenus to apply the motions to the Third
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         This Court has carefully read all of the transcripts of the evidentiary
   hearings held by Magistrate Judge Otazo-Reyes and the Report, which contains
   over 80 pages of factual findings. The Court has also reviewed the written
   submissions of the parties and relevant legal authorities. The Court held oral
   arguments on the objections to the Report on November 8, 2018.

         I. Judge Otazo-Reyes’s Recommendations

         In the Report, Magistrate Judge Otazo-Reyes recommends that the Court
   deny the Motion to Disqualify and the Motion to Dismiss. However, she also
   makes certain findings of improper government conduct and expresses
   credibility concerns about some prosecution testimony. As a result of those
   findings, she recommends exclusion of some evidence and testimony in the
   case. In particular, she recommends that the Court suppress: (1) any
   documents from the Eden Gardens search that are found to be privileged after
   Esformes’s privilege log is litigated; (2) the “Descalzo documents,” including the
   “Bengio notes” and the Excel/Quickbooks spreadsheets; (3) the text messages
   between Norman Ginsparg and Esformes related to Esformes’s divorce that
   were listed by the Government as trial exhibits; and, (4) the recordings by the
   Delgado brothers and any testimony by them regarding the contents of those
   recordings.
         Magistrate Judge Otazo-Reyes also ruled that the Defendant failed to
   meet the requirements for establishing misjoinder and obtaining the severance
   of Count 34 of the Third Superseding Indictment, which charges Defendant
   with obstruction of justice by funding Guillermo (“Willy”) Delgado’s flight from
   the United States to avoid trial in his own case.

         II.   Objections

         The Government and Esformes filed objections to the magistrate judge’s
   Report. On October 30, 2018, the parties submitted responses to those
   objections.

               A. The Government’s Objections

         In its objections, the Government claims the magistrate judge erred in
   four ways:
       1. By recommending exclusion of the “Delgado recordings” and related
          evidence;

   Superseding Indictment and the Court granted the ore tenus motion without
   objection from the Government.
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      2. By recommending exclusion of documents relating to Jacob Bengio;
      3. By recommending exclusion of certain text messages involving
         Esformes; and
      4. By making findings regarding the Government’s “improper conduct”
         including, but not limited to, finding that the Government disregarded
         the attorney-client and work-product privileges, attempted to obfuscate
         the evidentiary record, and provided facially inconsistent and an
         incredible explanation for its handling of “the Bengio documents.”

          The Government claims the exclusion of the Delgado recordings and
   related evidence is unsupported by the law and the facts. The Government
   further strongly disputes the findings of improper conduct and claims it always
   acted in good faith throughout its investigation. It claims that those findings
   are unsupported by the record and that this Court should reject those findings
   as unnecessary given the Report’s conclusion that Esformes has not shown
   sufficient prejudice from any of the alleged violations. The Government also
   states that it does not intend to introduce either the Bengio documents or the
   text messages in its case-in-chief, thus making those recommendations
   unnecessary and Esformes’s request to suppress those materials moot.

                B. Esformes’s Objections

          Esformes does not take issue with any of the magistrate judge’s factual
   findings. However, Esformes objects to the remedies recommended by the
   magistrate judge, which he claims did not go far enough. Esformes argues that
   the Government’s three-years-long pattern of misconduct and its repeated
   violations of the attorney-client privilege were so pervasive and so prejudicial
   that dismissal of the Third Superseding Indictment is warranted. In the
   alternative, Esformes seeks an order disqualifying the prosecution team from
   the case and excluding the Delgado brothers as witnesses in the case.
   Esformes did not object to the magistrate’s ruling denying his request to sever
   Count 34.

         III.   Standard of Review

         The Court reviews objections to a magistrate judge’s report and
   recommendation de novo. See United States v. Farias-Gonzalez, 556 F. 3d
   1181, 1184 n.1 (11th Cir. 2009). To the extent a party fails to object to parts of
   the magistrate judge’s report, those portions are reviewed for clear error. See
   Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).
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          “When a district court refers a matter to a magistrate judge to conduct
   an evidentiary hearing and make findings of fact, the district court is required
   to make a de novo determination” as to the portions of the magistrate judge’s
   report that the parties have objected to. Amlong & Amlong, P.A. v. Denny’s, Inc.,
   500 F.3d 1230, 1245 (11th Cir. 2007) (discussing 28 U.S.C. § 636(b)(1)); see
   also United States v. Raddatz, 447 U.S. 667, 674 (1980) (explaining that 28
   U.S.C. § 636(b) “calls for a de novo determination, not a de novo hearing”). “In
   making its determination, the district court is generally free to employ the
   magistrate judge’s findings to the extent that it sees fit—the court may adopt
   the magistrate judge’s findings in whole, in part, or not at all.” Amlong &
   Amlong, 500 F.3d at 1245. But “a district court may not reject a magistrate
   judge’s factual and credibility findings” unless it holds a new hearing to
   observe the demeanor of the witnesses. Id.; see also Raddatz, 447 U.S. at 671–
   72 (accepting a magistrate judge’s unadorned conclusion that he found one
   witness “more credible” than another). The rationale for this rule is simple:
   “Credibility determinations are typically the province of the fact finder because
   the fact finder personally observes the testimony and is thus in a better
   position than a reviewing court to assess the credibility of witnesses.” United
   States v. Ramirez-Chilel, 289 F.3d 744, 749 (11th Cir. 2002).
          The Eleventh Circuit has stated, “this general rule is subject to a small
   exception in the ‘rare case’ where ‘there . . . [is] found in the transcript an
   articulable basis for rejecting the magistrate’s original resolution of credibility
   and that basis . . .[is] articulated by the district judge.’” United States v. Cofield,
   272 F.3d 1303, 1306 (11th Cir. 2001) (citing United States v. Marshall, 609
   F.2d 152, 155 (5th Cir. 1980)). A reviewing court must generally defer to the
   magistrate judge’s credibility determinations unless those determinations
   appear to be “unbelievable.” Ramirez-Chilel, 289 F.3d at 749.

         IV.    Legal Standards

          Judge Otazo-Reyes properly summarized the appropriate legal standards
   that a district court must apply when considering whether to dismiss an
   indictment or disqualify a prosecution team. As Judge Otazo-Reyes explained,
   Esformes bears the burden of showing misconduct on the part of the
   government and prejudice to him. And, even if Defendant satisfies this burden,
   a less drastic remedy, such as suppression, must be considered.
          “Federal courts possess the power and duty to dismiss federal
   indictments obtained in violation of the Constitution or laws of the United
   States.” United States v. Pabian, 704 F.2d 1533, 1536 (11th Cir. 1983).
   However, “dismissal of an indictment for prosecutorial misconduct is an
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   ‘extreme sanction which should be infrequently utilized.’” Id. (quoting United
   States v. Owen, 580 F.2d 365, 367 (9th Cir. 1978)).
          To obtain dismissal of an indictment on a claim of government intrusion
   into the attorney-client relationship, the Defendant must establish that the
   government misconduct caused prejudice to him. See United States v. Ofshe,
   817 F.2d 1508, 1515 (11th Cir. 1987); United States v. DeLuca, 663 F. App’x
   875, 878–79 (11th Cir. 2016). Pursuant to Supreme Court precedent, dismissal
   is “plainly inappropriate” as a remedy for a Sixth Amendment violation if there
   is no “demonstrable prejudice.” Id. at 1515 (citing United States v. Morrison,
   449 U.S. 361, 364 (1981)). The same has been held by the Supreme Court to be
   true where a Fifth Amendment violation has occurred, and the same seems to
   holds true for any Fourth Amendment violation as well. See Morrison, 499 U.S.
   at 364; see also Ofshe, 817 F.2d at 1516 (holding that defendant was not
   entitled to dismissal of indictment in part because the defendant had suffered
   no prejudice when the government used a defendant’s criminal defense
   attorney as an informant against him). Similarly, although a district court may
   exercise its supervisory powers to dismiss an indictment in response to
   inappropriate government conduct, the moving party must still show prejudice.
   See Bank of Nova Scotia v. United States, 487 U.S. 250, 255 (1988) (stating, in
   the context of non-constitutional grand jury errors, that “a district court
   exceeds its powers in dismissing an indictment for prosecutorial misconduct
   not prejudicial to the defendant”); United States v. Campagnuolo, 592 F.2d 852,
   865 (5th Cir. 1979) (“The supervisory powers of a district judge, however, allow
   him to impose the extreme sanction of dismissal of an indictment with
   prejudice only in extraordinary situations. . . . For this reason, we have held
   that a district judge may dismiss an indictment with prejudice because of
   misconduct by the government only if that misconduct actually prejudiced the
   defendant.”).
          Esformes bears the same burden of showing misconduct and prejudice
   with regard to his motion to disqualify. See United States v. Walker, 243 F.
   App’x 621, 622–24 (2d Cir. 2007) (upholding the district court’s denial of a
   motion to disqualify, reasoning that there was no egregious misconduct on the
   part of prosecutors who had limited exposure to a handful of privileged
   documents); United States v. Stewart, 294 F. Supp. 2d 490, 494 (S.D.N.Y.
   2003) (denying partial motion to disqualify the prosecutor for inadvertent
   review of a privileged email, where the motion was only supported by “vague
   and conclusory allegations of the harm”).
          Yet, even when the requirements of misconduct and prejudice are met,
   courts often choose a lesser remedy, such as suppression of evidence, rather
   than dismissal or disqualification. See United States v. Morrison, 449 U.S. 361,
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   365 (1981) (“Our approach has thus been to identify and then neutralize the
   taint by tailoring relief appropriate in the circumstances to assure the
   defendant the effective assistance of counsel and a fair trial.”); United States v.
   Melvin, 650 F.2d 641, 644 (5th Cir. Unit B 1981) (remanding the case for
   further findings of fact on the question of prejudice and, if prejudice was found,
   for consideration of some remedy short of dismissal, such as suppression);
   Stewart, 294 F. Supp. 2d at 494 (noting that suppression rather than
   disqualification is the proper remedy for inadvertent disclosure of work
   product).

         V.    Analysis

               A. Improper Joinder & Severance of Count 34

          Esformes’s initial motion asked the Court, as an alternative to dismissing
   the entirety of the indictment, to sever what were then Counts 32 and 33 of the
   Second Superseding Indictment, which related to Esformes’s alleged
   obstruction of justice. In the Third Superseding Indictment, the Government
   charges Esformes with obstruction of justice for funding Willy Delgado’s flight
   to flee trial before Judge Martinez, in Count 34.
          Magistrate Judge Otazo-Reyes recommends that Esformes’s motion to
   sever Count 34 based on Federal Rules of Criminal Procedure 8(a) and 14 be
   denied. Esformes has not objected to that recommendation. Because Esformes
   did not object to this ruling, the Court reviews this recommendation for clear
   error. See Macort, 208 F. App’x at 784.
          With regard to the proper joinder of offenses, Rule 8(a) of the Federal
   Rules of Criminal Procedure provides that two or more offenses may be charged
   in the same indictment if the charged offenses “are of the same or similar
   character, or are based on the same act or transaction, or are connected with
   or constitute parts of a common scheme or plan.” Fed. R. Crim. P. 8(a). With
   regard to severance, Rule 14(a) of the Federal Rules of Criminal Procedure
   provides that, if the joinder of offenses appears to prejudice a defendant, “the
   court may order separate trials of counts.” Fed. R. Crim. P. 14(a).
          The magistrate judge’s ruling concerning improper joinder/severance is
   not clearly erroneous and the Court adopts her ruling as to this issue. Count
   34 was properly joined and should not be severed from the other charges in the
   Third Superseding Indictment.
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               B. The Joint Defense Agreement and Delgado Recordings

          Esformes argues that the Government improperly invaded the defense
   camp by initiating and directing the recordings of Esformes when it was aware
   of the existence of a joint defense agreement (“JDA”) among the Delgado
   brothers and him. Esformes argues that the prosecution team should be
   disqualified and the indictment should be dismissed as a result, or in the
   alternative, the evidence obtained by the Government through the recordings
   should be suppressed because the evidence was obtained in violation of the
   Fourth Amendment, Title III of the Omnibus Crime Control and Safe Streets
   Act of 1968, 18 U.S.C. § 2515 (“Title III”), and the joint-defense privilege, and
   that the Delgados should be prohibited from testifying at trial. Esformes also
   argues that the Government violated Florida Bar Rule 4.4-2(a) by initiating
   these recordings. Esformes also generally relies on Fifth Amendment and Sixth
   Amendment to support his argument that the indictment should be dismissed.
          Judge Otazo-Reyes concludes that the Government improperly directed
   the recording of Esformes by the Delgados and intruded into the attorney-client
   relationship by doing so. In particular, she finds that the Government violated
   the Citizen’s Protection Act, 28 U.S.C. § 530B, and Florida’s No-Contact Rule,
   Rule 4-4.2(a). Judge Otazo-Reyes also finds that the Government failed to
   implement a satisfactory “taint” protocol in this context, and that even in
   attempting to get a determination as to the applicability of the crime-fraud
   exception to the attorney-client privilege by seeking post-taping review from
   Judge Ursula M. Ungaro, the Government did not provide Judge Ungaro with
   “a complete record of the attorney interceptions.” (Report, ECF No. 899 at 114.)
   The Report does not specifically distinguish between the recordings of Esformes
   and the recordings of Ginsparg.
          Accordingly, Judge Otazo-Reyes recommends that the recordings made
   by the Delgados and any testimony about those conversations be excluded
   from the trial. She does not find it necessary to prohibit the Delgado brothers
   from testifying at trial and believes they should be allowed to testify regarding
   the conduct underlying the charges against Esformes. She does not
   recommend dismissal of the case or disqualification of the prosecution team on
   this basis. The Government objects to Judge Otazo-Reyes’s recommendation
   that these recordings be excluded from trial.

         1. Relevant Facts

         Gabriel and Willy Delgado were arrested in May 2014 and charged with
   health care fraud in a separate, but related, indictment pending before Judge
   Jose Martinez in this district. See Case No. 14-cr-20359. The Delgado brothers
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   were represented by Norman and Jane Moskowitz in that case. Esformes, who
   was under investigation, but not yet indicted at the time, was represented by
   Michael Pasano and Marissel Descalzo of the law firm Carlton Fields Jorden
   Burt, P.A. (“Carlton Fields”). Esformes and his attorneys and the Delgado
   brothers and their attorneys participated in an informal, oral JDA during 2014.
          A formal, written JDA was prepared by Norman Moskowitz in late 2014
   and was signed by Pasano on behalf of Esformes. Esformes did not sign the
   JDA himself. After the executed JDA was returned to Norman Moskowitz by
   Pasano, it was not signed by the Moskowitzes or the Delgado brothers, but the
   Moscowitzes believed the JDA was in effect and was made retroactive and
   enforceable as of December 2014. The parties operated under the JDA through
   at least May 2015. Although Gabriel Delgado testified that he did not believe
   there was a JDA, the magistrate judge implicitly rejected that testimony.
          The JDA required each party to give written notice to the other party if
   that party intended on withdrawing from the JDA. In October 2014, a
   superseding indictment was filed in the Delgados’ case, which added drug
   distribution charges against Willy Delgado, thus greatly increasing the
   Sentencing Guidelines range he faced upon conviction. In March 2015, Judge
   Martinez denied Willy Delgado’s motion to sever the drug charges from the
   health care fraud charges. Willy Delgado’s co-defendant, Emerson Carmona,
   then agreed to testify against him.
          According to Gabriel Delgado, Esformes became concerned that Willy
   Delgado would capitulate and cooperate against Esformes to avoid what now
   loomed as a very long prison sentence. Esformes and Gabriel Delgado had
   discussions during which Esformes offered to pay a significant sum of money
   to Willy Delgado so that he could flee the United States and avoid prosecution
   in the United States. Gabriel Delgado also told his attorney, Norman
   Moskowitz, that both Esformes and his attorney, Pasano, were trying to
   convince the Delgado brothers to sign false affidavits claiming that Esformes
   had never engaged in illegal activity.
          During the same time period of April through May 2015, the Delgado
   brothers decided to cooperate with the Government. Gabriel Delgado testified
   that it was his desire to cooperate with the Government as of May 2015.
          However, the Delgados’ attorneys did not provide a notice of withdrawal
   from the JDA to Esformes’s defense counsel. In Norman Moskowitz’s view,
   which he shared with the Government around that time, the JDA had been
   materially breached by Esformes and his counsel. Moskowitz believed that
   Esformes’s conversations with the Delgado brothers during which Esformes
   asked them to sign false affidavits acknowledging Esformes had committed no
   wrong-doing and during which Esformes offered to help pay for the flight from
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   prosecution of Willy Delgado, involved the commission of new crimes, and thus,
   were not within the scope of the JDA.
          So, Norman Moskowitz faced a dilemma. On the one hand, he did not
   want to alert Esformes of the Delgados’ possible cooperation. But, on the other
   hand, he did not want to negotiate a cooperation deal with the Government
   while simultaneously continuing to participate in joint defense meetings. So, in
   an effort to balance these competing positions, Norman Moskowitz suggested to
   the Delgados that they hire attorney Joaquin Mendez to conduct secret plea
   negotiations with the Government. The Delgados retained Mendez at the end of
   April 2015. Mendez wrote an email to the prosecutors advising them that he
   was authorized to negotiate for the Delgados and requesting that his
   representation of the Delgados not be disclosed to anyone. Around this time,
   the Government and Mendez discussed possibly recording Esformes during his
   meetings with the Delgados about Esformes’s plan to help Gabriel Delgado flee
   the country. Norman Moskowitz was not involved in those negotiations.
          Notwithstanding these plea discussions, Norman Moskowitz set up a
   joint defense meeting with Pasano and Descalzo in late April 2015. At the end
   of that meeting, the potential for the Delgado brothers’ executing exculpating
   affidavits for Esformes was raised by Esformes’s counsel.
          Around this time, the Moscowitzes continued with trial preparations for
   the Delgados. After May 4, 2015, the Moskowitzes had no further
   communications with Esformes’s defense counsel. On June 3, 2015, Descalzo
   came to the Moscowitzes’ office to review FBI 302 reports, but Norman
   Moskowitz claims he had no discussion with her at that time.
          Mendez spoke to the prosecutors by telephone on May 14, 2015
   requesting that the Government allow the Delgados to file a motion to dismiss
   the indictment without disrupting the good-faith plea negotiations. The
   Moskowitzes then filed a motion to dismiss on May 14, 2015. That motion
   remained pending for several months based upon the defense’s agreement to
   allow several extensions for the Government to file its response. But, the
   district judge and magistrate judge assigned to the Delgados’ case were
   informed that the Delgados had signed plea agreements and had been
   cooperating with the Government. (See Ex Parte Motion, ECF No. 329-2 at 3.)
          On June 5, 2015, the Delgado brothers executed sealed plea agreements.
   However, the Delgados’ plea agreements and factual proffers were not publicly
   filed until September 24, 2015. That day, Judge Martinez dismissed the
   pending motion to dismiss as moot.
          On the day the Delgados secretly executed their plea agreements,
   prosecutors were informed by Mendez that Esformes had sought to get Willy
   Delgado to flee the United States to a jurisdiction that had no extradition treaty
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   with the United States, and had asked both Delgados to sign false affidavits
   that his lawyers were preparing. And, according to these sources, these events
   were to commence in the context of a kickback payment that was going to be
   paid that night.
          The Government wanted to record any conversations related to these
   matters, which it viewed as collateral to the underlying health-care fraud
   investigation. But, prior to authorizing the recordings of that meeting, DOJ
   Trial Attorney Allan Medina contacted the DOJ Professional Responsibility
   Advisory Office (“PRAO”) and informed a legal advisor there of the existence of
   the JDA. Medina received an opinion recommending use of a filter team to
   perform the consensual recordings in this collateral investigation related to the
   allegations of obstruction of justice and on-going criminal activity. Medina also
   spoke to supervisors at the United States Attorney’s Office for the Southern
   District of Florida (“USAO-SDFL”) and the ethics officer at the USAO-SDFL.
   Medina also informed his DOJ supervisor.
          Consistent with that advice, on June 5, the Government assigned Senior
   Trial Attorney Christopher Hunter to be the taint prosecutor, and Special Agent
   Alethea N. Duncan to be the taint agent, in the separate investigation. Prior to
   that time, Agent Duncan had very limited knowledge of the Delgado brothers or
   the Esformes case.
          After the plea agreements were executed, Hunter vetted the process for
   the recordings with his supervisors in the Fraud Section of the Criminal
   Division within the DOJ. Hunter also obtained an independent opinion from
   the PRAO regarding use of a filter team to record communications with
   Esformes and received approval to go forward.
          Hunter and his team then directed the taping of Esformes on the evening
   of June 5, 2015. Although Hunter pursued several internal channels before
   commencing with the recordings, no efforts were made to seek approval from a
   court prior to the June 5th taping because of what Hunter believed were
   exigent circumstances: Gabriel Delgado was scheduled to meet with Esformes
   that evening; Esformes’s alleged conduct of tampering with witnesses and his
   offering of money to people in exchange for certain actions; and the potential
   that the Delgado brothers might flee the jurisdiction even though they were
   cooperating with the Government.
          Hunter understood that there was a potential for privilege issues due to
   the existence of the JDA. He had received an email from Norman Moskowitz
   stating that the Delgado brothers, Esformes, and their respective counsel were
   part of a JDA that had not been fully executed, but under which the parties
   had been operating. However, Norman Moskowitz expressed the view that:
   Esformes’s conversations with the Delgado brothers to commit a new crime
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   were not within the scope of the JDA; the agreement had been materially
   breached by Esformes and his counsel; and the Moskowitzes did not consider
   themselves bound by the withdrawal notice provisions of the JDA. Norman
   Moskowitz also testified before Judge Otazo-Reyes that, in terms of the course
   of dealing under the JDA, counsel had not communicated directly with each
   other’s clients or asked permission to do so. Norman Moskowitz had also
   learned from the Delgado brothers that Pasano had spoken to them, telling the
   Moskowitzes that they were being overly conservative; that they should feel free
   to sign the affidavits; and, that he could obtain substitute counsel for them.
          Hunter instructed the FBI agents that he was supervising in this
   separate investigation to not to record attorneys. It was his understanding that,
   in turn, the agents instructed the Delgado brothers not to record attorneys.
   Agent Duncan testified, however, that she could not recall receiving an
   instruction to not record the attorneys. Gabriel Delgado also acknowledged that
   he was not given any instructions by Government agents on how or who he
   should record and that there were no restrictions imposed by the Government
   on the taping.
          As planned, Gabriel Delgado went to see Esformes at his house the night
   of June 5th. They met in the closet of Esformes’s bedroom, where the first
   taping took place. At that time, Gabriel Delgado made a $5,000 cash kickback
   payment to Esformes. On the tape, Gabriel Delgado can be heard telling
   Esformes that Willy Delgado wanted $300,000, adding, “He has his plan, man,
   you know,” to which Esformes responded, “I don’t even want to know the plan.”
   See 11/30/17 Transcript, ECF No. 645 at 194:2–195:8.
          The Government initiated other recordings after June 5, 2018. Duncan
   noted that, during the course of the recordings, Esformes would routinely call
   other people and she had no control over what he did. For instance, on June 8,
   2015 and June 12, 2015, Esformes called his attorneys during the recorded
   conversations.
          During the June 8th recording, Esformes’s defense counsel, Descalzo
   and Pasano, were captured on the tape after Esformes put them on the phone
   while he was otherwise talking to Gabriel Delgado. The attorneys’ side of the
   conversation was not recorded due to a glitch with the equipment. But, the
   agents assigned to the investigation created an FBI Form 302 to document
   Gabriel Delgado’s recollection of what Esformes’s attorneys had said in the
   phone calls.
          Duncan explained that Hunter had instructed her not to debrief or write
   reports based on statements by the Delgado brothers. However, she had to
   interview Gabriel Delgado after one of the recordings because there was a
   malfunction in the recording device, and she took notes during the interview.
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   Judge Otazo-Reyes found that Duncan’s participation in the underlying
   investigation as a relief supervisor reviewing 21 documents did not compromise
   her position as taint agent for the obstruction of justice investigation.
         On June 8, 2015, Pasano transmitted affidavits to the Moskowitzes that
   memorialized Esformes’s good faith and lack of criminal intent. Pasano asked
   the Moskowitzes to ask the Delgado brothers to execute them if they were
   accurate, or to revise them. Norman Moskowitz responded by email, “[w]e don’t
   agree or consent to our clients signing declarations.” Email, ECF No. 329-23 at
   2. Pasano then replied to the Moscowitzes shortly by email, in part:

         And at this moment we continue to act per a joint defense
         understanding that is predicated on the notion that none of the
         clients are adverse to the others. If your clients are saying things
         that are adverse to Philip E’s position, I must insist we be so
         advised. It is up to you to tell us the specifics or not. But we
         deserve to be told if we are directly or potentially adverse.


   Email, ECF No. 329-24 at 2.
          Norman Ginsparg is an alleged co-conspirator who held many different
   positions in the various Esformes entities. In some of the health care facilities
   he is listed as a manager, in some as finance director, and in some as director
   of legal affairs. Ginsparg was at the time an attorney licensed in Illinois but not
   in Florida. The Government though, had received information that Ginsparg
   provided legal advice to Esformes. On June 19, 2015 and June 24, 2015, the
   Delgado brothers recorded Ginspargwhen they went to obtain checks from him.
   Ginsparg was not a party to the JDA and the Report does not discuss why
   these recordings should be suppressed. There is no indication that there were
   any legal discussions during the recordings and thus, there appears to be no
   basis to suppress these recordings.
          On September 10, 2015, three months after the recordings of Esformes
   were conducted, the Government filed an ex parte motion for an order from
   Judge Ungaro stating that certain communications and documents were not
   privileged because they were made in furtherance of a crime and giving it
   permission to share the tapes with the prosecution team. (See Ex Parte Motion,
   ECF No. 329-2.) The motion indicated that there was a “purported” JDA
   between the Delgados and Esformes but that the Delgados “reject the viability
   of any such agreement.” (Id. at 1.) The motion also advised that of the many
   recordings a few had inadvertently captured two attorneys but no recordings
   were ever made directly against either of them. The motion also indicated that
   any inadvertent recordings of the attorneys would be minimized or removed
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   from the recordings turned over to the prosecution team.
         On September 21, 2015, Judge Ungaro entered a sealed order (ECF No.
   329-35) (now unsealed) which granted the Government’s motion in part.
   Judge Ungaro concluded that any recordings between the Delgado brothers
   and Esformes in which no attorney was a party to the communications could
   be turned over to the prosecution and investigation team. However, any
   recordings between the Delgados and Esformes in which an attorney was a
   party to the communications had to be submitted for an in camera review prior
   to providing those recordings to the prosecution and investigation team.
         On January 8, 2016 and January 13, 2016, Hunter submitted the
   recordings to Judge Ungaro. Hunter also sent a cover letter with each
   submission that explained the contents of the recordings. Hunter did not
   submit either the JDA or the FBI Form 302 setting forth the circumstances of
   the attorneys’ conversation with Esformes on June 8th to Judge Ungaro for her
   review. Hunter decided not to submit the FBI Form 302 for review because he
   concluded that, on its face, it was evidence of criminal activity since Esformes
   was trying to procure false affidavits.
         On May 6, 2016, Judge Ungaro entered a supplemental sealed order
   (ECF No. 329-37) (now unsealed), in which she found that certain of the
   recordings implicated the attorney-client privilege while others did not.
   Judge Ungaro ordered that certain recordings of the attorneys “shall be
   minimized, or removed, from the set of recordings to be provided to the
   government prosecution and investigation team.” (Id. at 2.)

         2. Analysis

         The Government argues in its objections that at the time of the
   recordings, it had good reason to doubt there ever was a valid, enforceable JDA
   between Esformes and the Delgados, and, even if there had been one in place,
   the Government was told by the Delgados’ attorney that the JDA had been
   breached by Esformes and was no longer in force. Further, the Government
   contends that even if there was a valid JDA in place at the time of the
   recordings, the conversations were not privileged. In particular, it argues that
   the JDA did not cover conversations between clients and under the law at least
   one attorney must be present for a conversation to be privileged. The
   Government also argues that even if the conversations were privileged, they are
   not protected because they were in connection with and in furtherance of the
   commission of a crime. Accordingly, the Government argues the crime fraud
   exception applies.
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          The Government further highlights that Judge Ungaro already ruled on
   this issue and found that any consensually-recorded conversations are not
   privileged to the extent an attorney was absent from the conversation. The
   Government asserts that it failure to provide Judge Ungaro with a copy of the
   FBI 302 or the JDA when the Government sought her approval to disclose to
   the evidence to the prosecution team was not legally improper. And, that even
   if it erred, the suppression of the recordings where the attorneys are absent
   would not be the proper remedy.
          The Government also objects to Magistrate Otazo-Reyes’s ruling that the
   Government violated Florida’s No-Contact Rule, Rule 4-4.2(a), and the Citizens
   Protection Act, 28 U.S.C. § 530B. It argues that the recordings were initiated in
   connection with the Government’s investigation into Esformes’s potential
   obstruction of justice, not in connection with his health care fraud charges. As
   a result, Esformes was unaware of these potential charges and could not have
   retained counsel to represent him as to this matter. Moreover, even assuming
   the Florida rule was violated, the Government refers to Eleventh Circuit
   precedent to support its alternative argument that admissible evidence cannot
   be suppressed based on violation of a state’s professional responsibility rules.
          Esformes argues that the Government’s arguments are factually and
   legally incorrect. Esformes asserts that there is a client-to-client privilege and
   that the crime fraud exception does not apply. Moreover, Esformes argues that
   this Court should not rely on Judge Ungaro’s privilege ruling because the
   Government did not provide her with a full picture of the circumstances.
          The Court considers these arguments in turn. Ultimately, the Court
   disagrees with Judge Otazo-Reyes’s ruling as to the applicability of Florida’s
   No-Contact Rule. Nonetheless, the Court finds that the recordings in which any
   attorneys are present are inadmissible. To ensure that there is no invasion of
   the defense camp, the Court also finds that any recordings in which Esformes
   and Delgado discuss any legal strategies relating to the defense of the already
   completed health care fraud scheme for which Esformes was indicted are
   inadmissible, except to the extent that those conversations relate directly to the
   Government’s claim that Esformes was seeking false exculpatory affidavits from
   the Delgados.

            i.    Judge Ungaro’s Rulings

         While the Government encourages the Court to retain Judge Ungaro’s
   rulings, Esformes contends that the Judge Ungaro rulings were based on
   incomplete information. The parties mainly dispute the correctness of Judge
   Ungaro’s ruling as to the communications between the Delgados and Esformes
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   in which no attorney is present. In particular, Judge Ungaro allowed the filter
   team to share the majority of these recordings with the prosecution team and
   ruled that “the consensually-recorded communications between Gabriel
   Delgado, Guillermo Delgado, and [Esformes] in which no attorney is a party to
   the communications are not privileged, nor are documents associated with
   those communications.” (See Order, ECF No. 312-11.)
          The Government presented arguments to Judge Ungaro similar to the
   ones presented to the Court now—that there was no binding JDA at the time of
   the recordings, although some parties may have believed there was; no
   attorney-client privilege attaches to the conversations between Esformes and
   the Delgados; and even if their conversations could be considered privileged,
   the crime fraud exception applies. From a review of Judge Ungaro’s orders, it is
   unclear what basis she relied upon to make her privilege determination.
          Judge Otazo-Reyes found that the Government failed to provide Judge
   Ungaro a complete record of attorney interceptions, but did not make a
   particular finding or recommendation as to the weight this Court should give to
   Judge Ungaro’s ruling on the privilege issues. Instead, Judge Otazo-Reyes
   relied solely on her finding that the Government, acting through the Delgado
   brothers, violated the Citizens Protection Act, 28 U.S.C § 530B, and Florida’s
   No-Contact Rule, Rule 4-4.2(a), and that the “taint protocol” for these calls
   “came up short” to recommend that any recordings made by the Delgado
   brothers and any testimony by them regarding the contents of those recordings
   should be excluded.
          The Court finds that Judge Ungaro’s rulings, although considered by the
   Court, are not binding on the Court. Judge Ungaro’s rulings came from ex
   parte communications with the Government’s investigative team, in which she
   was arguably given an incomplete view of the legal issues and facts. Esformes
   had no opportunity to assert his position on the privileged nature of these
   tapes at the time Judge Ungaro released portions of them to the prosecution
   team. Further, Judge Ungaro was deciding whether these tapes should be
   shared with the prosecution team; she did not decide whether they were
   admissible.
          If the Court were to adopt Judge Ungaro’s rulings without further
   consideration, the Court would run the risk of violating Esformes’s due process
   rights. See Freeman v. Lester Coggins Trucking, Inc., 771 F.2d 860, 865–66 (5th
   Cir. 1985) (“An underlying principle is that it is a violation of due process for a
   judgment in a prior suit to be binding on a litigant who was not a party or a
   privy and there has never had an opportunity to be heard.” (quoting Parkland
   Hosiery Company, Inc v. Shore, 439 U.S. 322, 327 n.7 (1979) (alterations
   omitted)); United States v. Pineda-Mendoza, No. 2:11-cr-0320 WBS (GGH), 2012
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   WL 4056829, at *2 (E.D. Cal. Sept. 14, 2012) (stating that law of the case is not
   implicated where orders were issued ex parte because “[i]t is generally unfair to
   preclude a party from later arguing an otherwise legitimate objection when that
   party has not had any opportunity to initially voice the objection”). As such, the
   Court has considered the arguments presented by Esformes, including those
   that Judge Otazo-Reyes did not discuss. The Court has reviewed the FBI 302
   and the JDA and finds that Judge Ungaro’s ruling would not have been
   different had the Government provided her with the FBI 302 and JDA.
          The parties do not seem to dispute that the recordings that included the
   attorneys are not admissible. So, the Court focuses on the parties’
   disagreements as to the recorded conversations involving the Delgados and
   Esformes when no attorneys were present.

            ii.   Was there a valid, still-binding joint defense agreement in effect
                  at the time of the recordings?

          In United States v. Almeida, 341 F.3d 1318 (11th Cir. 2003), the
   Eleventh Circuit implicitly acknowledged the validity of oral joint defense
   agreements but cautioned that in the future, defense lawyers should insist
   their clients enter into written joint defense agreements that fully explain the
   defendants’ rights and obligations. See id. at 1327 n.21; Minebea Co., Ltd. v.
   Papst, 228 F.R.D. 13, 16 (D. D.C. 2005) (“Obviously, a written agreement is the
   most effective method of establishing the existence of a joint defense
   agreement, although an oral agreement whose existence, terms and scope are
   proved by the party asserting it, may be enforceable as well.”); United States v.
   LeCroy, 348 F. Supp. 2d 375, 381 (E.D. Pa. 2004) (“courts have found that an
   oral joint defense agreement may be valid”); United States v. Stepney, 246 F.
   Supp. 2d 1069, 1080 n.5 (N.D. Cal. 2003) (“No written agreement is generally
   required to invoke the joint defense privilege.”); LaSalle Bank Nat. Ass’n v.
   Lehman Bros. Holdings, Inc., 209 F.R.D. 112, 116 n.3 (D. Md. 2002)
   (acknowledging that written joint defense agreement “does no more than
   confirm the existence of the common legal interest” existing between two
   parties);; Boyd v. Comdata Network, Inc., 88 S.W.3d 203, 217 (Tenn. App.
   2002) (“While a well-drafted joint defense agreement makes it simple for the
   courts to determine whether the parties intended to participate in a joint
   defense, an executed agreement is not a necessary ingredient to a common
   interest privilege claim,” citing Power Mosfet, 206 F.R.D 422, 425 (E.D. Tex.
   2000)). See also 2 Stephen A. Saltzburg, et al., Federal Rules of Evidence
   Manual at 501-35-36 (8th ed. 2002) (“The parties need not agree in writing to
   pursue a common interest.”). The Restatement has adopted this position as
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   well, stating that “[e]xchanging communications may be predicated on an
   express agreement, but formality is not required.” See Restatement (Third) of
   the Law Governing Lawyers § 76, comment c.
         Here, although the written JDA was not executed by Esformes or the
   Delgado brothers, Esformes and the Delgado brothers were bound by the JDA,
   both through their counsel under agency principles and by their continuous
   acceptance of the benefits of the agreement. Paragraph 20 of the JDA states:

         By executing this Agreement, all Counsel certify that they have
         explained the contents of the Agreement to their Clients, that it is
         their understanding that the Clients understand and agree to
         abide by the representations made in the Agreement, and that the
         Clients have authorized Counsel to execute the Agreement.

          The Court does not find the fact that the Moscowitzes did not sign the
   JDA dispositive. The parties, through counsel, exchanged confidential material,
   frequently labeled their emails “joint defense,” and met often to share
   information pursuant to their common interests. As just one example, on
   January 19, 2015, Esformes’s attorneys provided Delgados’s attorneys with a
   summary of numerous witness interviews that had been conducted of
   Esformes’s employees, allegations made by Nelson Salazar, a cooperator, the
   circumstances surrounding the acquisition of the La Covadonga ALF, and
   information about a possible witness. Esformes’s attorneys also shared two
   specific areas of concern with respect to potential kickback accusations—
   payments for limousine services and requests for contributions to a charity.
          It is clear by their conduct, all parties operated under the assumption
   that their actions and statements were covered by a valid JDA. The Court finds
   that there was a valid JDA—relating to the pending Government investigation
   of Esformes for health care fraud—in effect among the parties from 2014 and
   up until the Delgado brothers’ signed their plea agreements.
          Esformes claims that the Government intentionally and improperly
   intruded into the defense camp when it utilized the Delgado brothers to record
   Esformes and his attorneys. He claims that the Government knew there was a
   JDA in place when it authorized the recordings.
          Esformes relies on what he claims is a similar case from this district,
   United States v. Pisoni, No. 15-20339-CR-Gayles. In Pisoni, four defendants
   entered into a written JDA prior to the indictment in the case. The JDA
   provided that no defendant would disclose joint defense materials received from
   each other and required any attorney or defendant who wished to withdraw to
   provide written notification within 48 hours of withdrawing. And, any
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   defendant who withdrew was required to return any joint defense materials and
   was prohibited from utilizing any joint defense materials in a manner adverse
   to the interests of any other defendant.
          One of Pisoni’s co-defendants, John Leon, signed a plea agreement with
   the Government in February 2016. After he signed his plea agreement, Leon
   continued to participate in group chats through MMS and later through
   Whatsapp. Those discussions included privileged matters including what the
   defendants’ attorneys had told them, and tactical and strategic decisions to be
   used to have the case dismissed.
          In late March and through mid-April 2016, Leon participated by
   telephone and in person in several meetings with the three other defendants,
   their attorneys and an investigator during which defense strategies were
   discussed and joint defense documents were shared. Leon shared the
   information and documents he had obtained during these joint defense
   meetings with the agents and prosecutors in the case.
          The Government attempted to justify its concealment of Leon’s
   cooperation by arguing it was necessary to continue its investigation of another
   target and revealing Leon’s plea agreement would have alerted the target of his
   cooperation. Judge Darrin P. Gayles found that the need to conduct further
   investigation of another target could not ever justify invading the defense camp.
   Judge Gayles found that Leon had intentionally tried to utilize information he
   obtained during joint defense meetings to obtain a lesser sentence for himself
   and excluded Leon as a witness in order to uphold the integrity of the
   proceedings. But, Judge Gayles did not dismiss the indictment based upon
   government misconduct because no prejudice was shown.
          This case is distinguishable from Pisoni. Here, the Government had
   information that Esformes was attempted to pay for a co-conspirator to flee the
   jurisdiction and was attempting to obstruct justice by convincing his co-
   conspirators to file false affidavits. There was no attempt by the Government to
   use the Delgados to obtain information, strategy, or documents from Esformes
   or his criminal defense attorneys relating to the underlying health care fraud
   investigation. The Government sought and obtained approval from supervisors
   at the DOJ and at the USAO-SDFL. The Government brought in a taint
   prosecutor and taint agent to the site and instructed the Delgados to not record
   any conversations with attorneys. And, the Government sought approval from
   Judge Ungaro prior to sharing any of the recordings with the prosecution team.
          The Court finds that there was no improper intrusion into the defense
   camp based upon the Delgado recordings of Esformes. As just noted, the JDA
   applied to the Government’s pending investigation of Esformes for health care
   fraud. The JDA did not, and could not, apply to attempts by Esformes to
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   obstruct justice by offering to pay for a co-conspirator to flee from prosecution
   or by attempting to have co-conspirators execute false affidavits exculpating
   Esformes. Thus, even if the JDA was in effect, the Government’s investigation
   of separate, ongoing criminal activity would not be encompassed by the JDA.
         The Court recognizes that the JDA contained a provision requiring
   written notice within two business days to the other attorney if an attorney
   determines his client no longer has a mutuality of interest in a joint defense.
   Yet, the fact that the Delgado brothers were attempting to negotiate a
   settlement of the case with the Government would not constitute a lack of
   mutuality of interest. Those negotiations could very well have been unfruitful.
   But, once the plea agreement involving cooperation was signed, the JDA would
   have required the Delgado brothers’ attorneys to notify Esformes’s attorneys of
   the lack of mutuality of interest in a joint defense. The obligation to provide
   notice was on the Delgados and their attorneys, not on the prosecution team.

            iii.   Were the communications between Esfomes and the Delgados
                   privileged?

          “The attorney-client privilege attaches only to communications made in
   confidence to an attorney by that attorney’s client for the purposes of securing
   legal advice or assistance.” In re Grand Jury Investigation (Schroeder), 842 F.2d
   1223, 1224 (11th Cir. 1987) (“Schroeder”) (emphasis added). The party invoking
   the privilege bears the burden of proving its existence. Id. at 1225. Here, the
   communications between only Esformes and the Delgados were not between an
   attorney and client.
          The Eleventh Circuit, however, has recognized that many courts have
   held that the attorney-client privilege gives rise to an associated joint defense
   privilege when co-defendants are given the opportunity to collaborate on
   defense tactics and exchange confidential information without hiring the same
   attorney. Almeida, 341 F.3d at 1324. The joint defense privilege generally
   “serves to protect the confidentiality of communications passing from one party
   to the attorney for another party where a joint defense effort or strategy has
   been decided upon and undertaken by parties and their respective counsel.” Id.
   (citations omitted) (emphasis added). Other courts have considered
   communications between clients, without the involvement of an attorney, to be
   privileged under particular circumstances. See Crane Security Technologies, Inc
   v. Rolling Optics, AB, 230 F. Supp. 3d 10, 21–22 (D. Mass. 2017) (“The fact that
   communications are between non-lawyers does not per se waive the privilege.”);
   Gucci America, Inc. v. Gucci, No. 07-civ-6820(RMB)(JCF), 2008 WL 5251989, at
   *1 (S.D.N.Y. Dec. 15, 2008) (“Thus, the common interest doctrine permits the
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   disclosure of privileged communications without waiver of the privilege
   provided the party claiming an exception to waiver demonstrates that the
   parties communications: (1) have a common legal, rather than commercial,
   interest; and (2) the disclosures are made in the course of formulating a
   common legal strategy.”). While other courts have held that “[t]he mere fact
   that the communications were among co-defendants who had joined in a joint
   defense agreement is, without more, insufficient to bring such statements
   within the attorney-client privilege.” United States v. Krug, 868 F.3d 82, 87 (2d
   Cir. 2017) (finding that communications where no attorney was present and
   communications were not made for the purpose of obtaining, sharing, or
   facilitating legal advice was not privileged).
           From Esformes’s perspective, at the time of the conversations with the
   Delgados, he may have believed that their conversations were protected under
   a joint defense privilege. However, even if the Court were to assume that a joint
   defense privilege covered conversations among Esformes and the Delgados
   based on their JDA, any purported joint privilege was waived by the Delgados
   when they agreed to cooperate with the Government. See Almeida, 341 F.3d at
   1326 (holding that in case where each party to a joint defense agreement is
   represented by his or her own counsel, communications by one co-defendant to
   the attorney of another co-defendant are not privileged “in the event that the
   co-defendant decided to testify on behalf of the government in exchange for a
   reduced sentence.”
           Further, even if the joint privilege or any privilege had extended to these
   conversations, the Court finds that the crime fraud exception would apply to
   render those conversations unprivileged. The attorney-client privilege does not
   protect communications made in furtherance of a crime or fraud. See
   Schroeder, 842 F.2d at 1226. Under usual circumstances, there is a two-part
   test that courts use to determine whether the crime-fraud exception applies. Id.

         First, there must be a prima facie showing that the client was
         engaged in criminal or fraudulent conduct when he sought the
         advice of counsel, that he was planning such conduct when he
         sought the advice of counsel, or that he committed a crime or
         fraud subsequent to receiving the benefit of counsel’s advice.
         Second, there must be a showing that the attorney’s assistance
         was obtained in furtherance of the criminal or fraudulent activity
         or was closely related to it.

   Id. To establish the first prong, the moving party must provide evidence, which
   has some foundation in fact, that would establish elements of some violation
   that was ongoing or about to happen. Id. The second prong is established by
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   showing that the communication is related to the criminal or fraudulent
   activity established under the first prong. Id. Although the crime-fraud
   exception generally applies when attorney-client communications are involved,
   the Court extends this exception to this case given that the principles
   underlying the crime fraud exception apply just as strongly in circumstances
   where co-defendants who are supposedly in a privileged relationship are
   attempting to commit a crime. No privilege should “be used as a cloak for illegal
   or fraudulent behavior.” See In re Grand Jury Proceedings (Pavlick), 680 F.2d
   1026, 1028 (5th Cir. 1982) (quoting United States v. Hodge & Zweigh, 548 F.2d
   1327, 1354–55 (9th Cir. 1977)).
          Esformes cites to United States v. Pedersen, No. 3:12–cr–00431–HA, 2014
   WL 3871197 (D. Or. Aug. 6, 2014) for the proposition that only a court can
   determine applicability of crime fraud exception, so the Government’s failure
   to obtain a determination that it applied before it recorded Esformes renders
   the Government’s reliance on the crime fraud exception unpersuasive.
          In Pedersen, a death penalty case, the district court exercised its
   supervisory powers to opine on the government’s actions after the two
   defendants in that case had pled guilty. The court did so because it believed it
   could not “in good conscience” “allow the government’s conduct to pass without
   comment.” Pedersen, 2014 WL 3871197, at *2. In that case, while one of the
   defendants was incarcerated in state prison, the federal government
   intercepted the defendant’s legal mail and reviewed those materials for months
   before a taint team was put in place; listened to and took notes of legal calls
   between the defendant and his mitigation specialist because it believed the
   mitigation specialist was part of an ongoing criminal conspiracy; and,
   intercepted calls between the defendant and several members of the defense
   team, among other acts that the Court found to be worthy of note. Id. at *12–
   *21.
          The Court finds Pedersen distinguishable in important respects. For one,
   the communications were not between the defendant and an informant.
   Rather, they involved the defendant’s communications with his attorney and
   others from his legal team. This is an extremely problematic element that is not
   found in this case. Further, in Pedersen, the defendant’s legal mail was already
   in the government’s possession and there was no exigency preventing the
   government from seeking a court’s permission prior to reviewing it. Here on
   June 5, 2018, the government believed that there was a crime that was about
   to take place. And, importantly, in Pedersen, the court found that there was “no
   evidence whatsoever” of the existence of a crime or fraud. In this case, the
   Government had specific evidence from the Delgados that Esformes was about
   to commit obstruction of justice. The reliability of the information received and
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   the limited time available before the meeting between the Delgados and
   Esformes was to take place renders this case different from Pedersen at least
   with regards to the June 5th recording.
          Ultimately the Court finds that no applicable privilege protected the
   conversations between the Delgados and Esformes. Even if the joint defense
   privilege did apply, Esformes’s communications were exempt from protection
   because he was discussing the ongoing commission of a crime.

            iv.   Did Florida’s No-Contact Rule apply to the prosecutors? If so did
                  they violate the rule?

         The Citizen’s Protection Act, 28 U.S.C. § 530B(a) provides:

         An attorney for the Government shall be subject to State laws
         and rules, and local Federal court rules, governing attorneys in
         each State where such attorney engages in that attorney's duties,
         to the same extent and in the same manner as other attorneys in
         that State.

   Relatedly, Florida’s No-Contact Rule of the Florida Rules of Professional
   Conduct, Rule 4-4.2(a) provides:

         In representing a client, a lawyer must not communicate about
         the subject of the representation with a person the lawyer knows
         to be represented by another lawyer in the matter, unless the
         lawyer has the consent of the other lawyer. Notwithstanding the
         foregoing, a lawyer may, without such prior consent,
         communicate with another’s client to meet the requirements of
         any court rule, statute or contract requiring notice or service of
         process directly on a person, in which event the communication
         is strictly restricted to that required by the court rule, statute or
         contract, and a copy must be provided to the person’s lawyer.

         The Government concedes that prosecutors are generally bound by state
   ethics rules but, relying on United States v. Diaz, No. 2:17-CR-31-KS-JCG,
   2018 WL 1003751 (S.D. Miss. Feb. 21, 2018), it argues that state ethical rules
   do not apply to the investigatory phase of law enforcement. In Diaz, a co-
   conspirator of the defendant began surreptitiously recording conversations
   with the defendant in cooperation with the government. The defendant had not
   yet been indicted but the investigation was ongoing for several months and the
   defendant had been represented by counsel in interactions with the
   government prior to the recordings. The defendant in Diaz moved to dismiss
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   the indictment or, in the alternative, to suppress the recordings obtained in
   violation of the ethical rules.
          The district judge in Diaz denied the motion. In doing so, the court noted
   that the Fifth Circuit, in addressing this same issue found that,

         ‘professional disciplinary rules do not apply to government conduct
         prior to indictment. . . .’ United States v. Johnson, 68 F.3d 899,
         902 (5th Cir. 1995); see also United States v. Heinz, 983 F.2d 609,
         613 (5th Cir. 1993). In fact, DOJ regulations specifically provide
         that 28 U.S.C. § 530B ‘should not be construed in any way to alter
         federal substantive, procedural, or evidentiary law. . . .’ 28 C.F.R. §
         77.1(b). Virtually every federal court to address this issue has
         ruled that similar ethical rules do not apply to the investigatory
         phase of law enforcement. Only one Circuit has applied a no-
         contact rule in a non-custodial, pre-indictment setting, and it still
         declined to suppress the recorded statements. United States v.
         Hammad, 858 F.2d 834, 842 (2nd Cir. 1988).

    Diaz, 2018 WL 1003751, at *2 (footnote omitted).
          The Third, Sixth, Eighth, Ninth and Tenth Circuits, as well as several
   district courts have also held that state ethical rules do not apply to the
   investigatory phase of law enforcement. See, e.g. United States v. Brown, 595
   F.3d 498, 516 (3rd Cir. 2010); United States v. Cope, 312 F.3d 757, 773 (6th
   Cir. 2002); United States v. Plumley, 207 F.3d 1086, 1095 (8th Cir. 2000);
   United States v. Balter, 91 F.3d 427, 436 (3rd Cir. 1996) (Alito, J.); United
   States v. Powe, 9 F.3d 68, 69 (9th Cir. 1993); United States v. Ryans, 903 F.2d
   731, 739 (10th Cir. 1990); United States v. Sutton, 801 F.2d 1346, 1366 (D.C.
   Cir. 1986); United States v. Fitterer, 710 F.2d 1328, 1333 (8th Cir. 1983);
   United States v. Elliott, 684 F. App’x. 685, 693–94 (10th Cir. 2017); United
   States v. Grass, 239 F. Supp. 2d 535, 542 (M.D. Penn. 2003); United States v.
   Joseph Binder Schweizer Emblem Co., 167 F. Supp. 2d 862, 866 (E.D.N.C.
   2001); United States v. Marcus, 849 F. Supp. 417, 421 (D. Md. 1994) (listing
   numerous cases); In re Disciplinary Proceedings Re: Doe, 876 F. Supp. 265, 268
   (M.D. Fla. 1993) (“Doe”); United States v. Heine, No. 3:15–cr–238–SI–1, 2016 WL
   6808595, at *22 (D. Ore. Nov. 17, 2016); United States v. Sabean, No. 2:15-cr-
   175-GZS, 2016 WL 5721135, at *5 (D. Me. Oct. 3, 2016); United States v. Voigt,
   No. 13-CR-0035(2), 2015 WL 9581740, at *2 (D. Minn. Dec. 30, 2015); United
   States v. Lash, No. 03–135, 2010 WL 5437275, at *4 (E.D. La. Dec. 10, 2010).
          Magistrate Judge Otazo-Reyes distinguished Diaz by stating, without
   elaboration, that Diaz did not apply given the difference between Florida and
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   Mississippi’s no-contact rules. Rule 4-2 of the Mississippi Rules of Professional
   Conduct provides, “[i]n representing a client, a lawyer shall not communicate
   about the subject of the representation with a party the lawyer knows to be
   represented by another lawyer in the matter, unless the lawyer has the consent
   of the other lawyer or is authorized by law to do so.” The Comment to the Rule
   provides, “[t]his Rule also covers any person, whether or not a party to a formal
   proceeding, who is represented by counsel concerning the matter in question.”
          In comparing the two rules, the Florida rule refers to communication
   with a “person” and the Mississippi rule refers to communication with a
   “party.” The first sentences of the Mississippi and Florida rules are otherwise
   identical up to the words “unless the lawyer has the consent of the other
   lawyer.” The first sentence in the Mississippi rule goes on to say, “or is
   authorized by law to do so.” The first sentence in the Florida rule ends with
   “unless the lawyer has the consent of the other lawyer.” The Florida rule then
   has a second sentence that reads:
         Notwithstanding the foregoing, a lawyer may, without such prior
         consent, communicate with another’s client to meet the
         requirements of any court rule, statute or contract requiring notice
         or service of process directly on a person, in which event the
         communication is strictly restricted to that required by the court
         rule, statute or contract, and a copy must be provided to the
         person’s lawyer.
         In 1993, a three-judge panel of the Middle District of Florida interpreted
   the application of Florida Rule of Professional Conduct 4-4.2 in the context of a
   pre-arrest, pre-indictment federal criminal investigation and stated:
         We hold that Rule 4–4.2 does not apply to non-custodial
         communications with corporate employees during criminal
         investigations (including grand jury investigations) that have not
         become formal proceedings initiated by the making of an arrest,
         the filing of a complaint or the return of an indictment. In so
         holding we recognize, as pointed out earlier, that the Florida
         formulation of the ethical rule is broader than the ABA Model Rule
         4.2 in that “person” was substituted for “party,” and that the
         qualifying phrase “or is authorized by law to do so” was deleted.
         Nevertheless, we believe that the other references in the rule to
         “representing a client” in relation to communications concerning
         “the subject of the representation” and made “in the matter,” all
         contemplate, as the court held in [United States v. Ryans, 903 F.2d
         731 (10th Cir. 1990)] an adversarial relationship between litigants,
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         not a mere investigation.
   Doe, 876 F. Supp. at 268.
         The panel in Doe also noted that when government lawyers are
   conducting covert investigations, they as well as courts and other lawyers need
   and, are entitled to have, a bright-line rule separating ethical from unethical
   behavior. Id. at 269. That line is the arrest or indictment of the represented
   person. Thus, the Doe case is at odds with Judge Otazo-Reye’s conclusion here
   that the difference in the wording of the Mississippi rule relied upon in Diaz
   and the Florida rule in this case is a legally significant difference.
         Esformes urges the Court not to follow Diaz and instead to rely on
   Florida Ethics Opinion 90-4, 1990 WL 446959 (July 15, 1990), which construed
   Florida’s No-Contact Rule as prohibiting federal prosecutors and their agents
   from contacting represented persons prior to indictment. But, that ethics
   opinion was specifically discussed and rejected by the panel in Doe. The Court
   agrees with the panel in Doe as to the applicability of Florida Ethics Opinion
   90-4.
         Esformes further argues that the Doe opinion is no longer valid since it
   was entered prior to the enactment of 28 U.S.C. § 530B, which mandates the
   application of state ethics rules to federal prosecutors. In Doe, although the
   panel first found that the state ethics rules did generally apply to federal
   prosecutors, the panel held that the rules did not apply in a pre-indictment
   stage. And several circuit courts of appeal have come to this same conclusion
   for cases arising after implementation of 28 U.S.C. § 530B. See Brown, 595
   F.3d at 516; Cope, 312 F.3d at 773; Plumley, 207 F.3d at 1095.
         Furthermore, even if the state ethics rules apply to a federal prosecutor
   in the pre-indictment, pre-arrest stage of an investigation, the Eleventh Circuit
   has held that “a state rule of professional conduct cannot provide an adequate
   basis for a federal court to suppress evidence that is otherwise admissible.”
   United States v. Lowery, 166 F.3d 1119, 1124 (11th Cir. 1999). The Court in
   Lowery distinguished between the enforcement of ethical rules and the
   admission of evidence in a federal trial:

         Making state prescribed professional conduct rules applicable to
         federal prosecutors is one thing. Letting those rules govern the
         admissibility of evidence in federal court is another. If Congress
         wants to give state courts and legislatures veto power over the
         admission of evidence in federal court, it will have to tell us that in
         plain language using clear terms.
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   Id. at 1125. The Lowery case was decided after the enactment of 28 U.S.C.
   § 530(b) and, although the conduct at issue occurred prior to the enactment of
   that statute, the Eleventh Circuit treated the legislation as if it were fully
   effective for the purposes of its analysis of the case.
          Thus, either Rule 4-4.2 does not apply to the conduct of the federal
   prosecutors vis-a-vis the Delgado recordings under Diaz and Roe since this was
   a pre-indictment, pre-arrest stage of the investigation as to Esformes’s
   obstruction of justice charge, or, if Rule 4-4.2 does apply, any violation of the
   rule could not result in the suppression of the recordings under Lowery.
            v.    Constitutional and statutory considerations

         Esformes raises several statutory and constitutional arguments related
   to the recordings. The Government argues that none of these arguments are
   persuasive. Judge Otazo-Reyes did not reach these arguments, but in the
   Court’s own review of the relevant case law and the parties’ arguments, it
   concludes that the Sixth Amendment precludes the admission of any portion of
   the recordings that relate to the health care fraud scheme.
          First, the Court finds that the Fourth Amendment does not protect
   conversations between co-defendants in circumstances such as these, where
   one co-defendant has decided to cooperate with the Government and has
   consented to the recordings. See, e.g., United States v. White, 401 U.S. 745,
   752 (1971) (plurality opinion) (“Inescapably, one contemplating illegal activities
   must realize and risk that his companions may be reporting to the police.”);
   United States v. Davanzo, 699 F.2d 1097, 1100 (11th Cir. 1983) (“There is no
   Fourth Amendment violation here, however, because Ostrander, a paid
   informer and not a law enforcement agent of the government, gave his consent
   before recording each of the conversations, thereby freeing the conversations
   from the warrant requirement.”); United States v. Shields, 675 F.2d 1152, 1158
   (11th Cir. 1982) (“Supreme Court cases have consistently held that the
   government does not violate the fourth amendment by recording and
   transmitting private conversations with the consent of one of the parties, even
   though the other party does not know his conversation is being recorded or
   transmitted.”) Although Esformes attempts to create a distinction between
   these cases by emphasizing the role of the JDA, the Court is unpersuaded. The
   Court finds the same rationale to apply to Esformes’s argument that the
   Government violated Title III. See Shields, 675 F.2d at 1156 & n.2 (“Obviously .
   . . a party to a conversation who has consented to its interception need no
   authorize further its being divulged.”).
         To the extent Esformes is relying on the Fifth Amendment in this context,
   the Court is unconvinced that the Government’s recording of Esformes violated
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   the Fifth Amendment. To constitute a constitutional violation the law
   enforcement technique must be so outrageous that it is fundamentally unfair
   and “shocking to the universal sense of justice mandated by the Due Process
   Clause of the Fifth Amendment.” Ofshe, 817 F.2d at 1516 (quoting United
   States v. Russell, 411 U.S. 423, 432 (1973)). The Court must consider the
   “totality of the circumstances.” Id. Here, the Government initiated its
   recordings of Esformes to obtain information regarding Esformes’s potential
   future criminal conduct. The use of an informant to obtain such information is
   “not so outrageous as to shock the universal sense of justice.” Id.
          The Court is, however, concerned that Esformes’s Sixth Amendment
   rights were violated to the extent the Government was aware that the Delgados
   and Esformes would be discussing his health care fraud scheme. In Maine v.
   Moulton, 474 U.S. 159 (1985), the Supreme Court stated:

         Thus, the Sixth Amendment is not violated whenever—by luck or
         happenstance—the State obtains incriminating statements from
         the accused after the right to counsel has attached. However,
         knowing exploitation by the State of an opportunity to confront the
         accused without counsel being present is as much a breach of the
         State’s obligation not to circumvent the right to the assistance of
         counsel as is the intentional creation of such an opportunity.
         Accordingly, the Sixth Amendment is violated when the State
         obtains incriminating statements by knowingly circumventing the
         accused’s right to have counsel present in a confrontation between
         the accused and a state agent.

   Id. at 176. In Moulton, the Supreme Court held that the state government had
   violated the defendant’s Sixth Amendment right when it arranged to record
   conversations between the defendant and an undercover informant because it
   knew that they were meeting with “the express purpose of discussing [ ]
   pending charges and planning a defense for trial.” Id. at 177. The Supreme
   Court held that incriminating statements pertaining to the pending charges
   were inadmissible at the trial of those charges, notwithstanding the fact that
   the police were also investigating other crimes. Id. at 178. However, the
   Supreme Court also recognized that “to exclude evidence pertaining to charges
   as to which the Sixth Amendment had not attached at the time the evidence
   was obtained, simply because other charges were pending at the time, would
   unnecessarily frustrate the public’s interest in the investigation of criminal
   activities.” Id. at 180.
          Applying Moulton to this case, the Court finds that the Government
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   intended to obtain information about Esformes’s attempts to obstruct justice
   rather than information about his pending charges and that this investigation
   was not improper. United States v. Ford, 176 F.3d 376, 379 (6th Cir. 1999).
   (“Accordingly, the fact that law enforcement officials arranged for an informant
   to converse with an indicted defendant about offenses other than those for
   which the defendant had been indicted is not unlawful.”) However, to the
   extent the Government knew or became aware that Esformes and the Delgados
   would be discussing pending charges, and the Delgados elicited statements
   about them, the Court concludes that such portions of the recordings are not
   admissible at trial. Id. at 380 (“[I]f an informant ‘deliberately elicited’
   incriminating statements relating to the charged offense, the defendant is
   entitled to suppression of those statements in the trial on the charged offense,
   but the Sixth Amendment raises no bar to the initiation of the interview itself
   or the use of any statements that incriminate the defendant or on uncharged
   offenses.”).
          In light of the Court’s ruling that the Delgado recordings were lawfully
   obtained and lawfully shared with the prosecution team, the Court declines to
   adopt any findings in the Report of Government misconduct relating to these
   recordings.

               C. The Search of Eden Gardens

          Judge Otazo-Reyes found that the “taint” protocol for the search of Eden
   Gardens was inadequate and ineffective and the prosecution team improperly
   reviewed materials from the Eden Gardens search before “taint” attorneys had
   reviewed the materials, despite assertions of Esformes’s privilege. However, in
   assessing whether Esformes was prejudiced by the Government’s actions
   regarding Eden Gardens, Judge Otazo-Reyes found that the “Descalzo
   documents” found there and used in Ginsparg’s reverse proffer and during the
   Bengio debriefings did not lead to charges against Esformes or Ginsparg. The
   documents Esformes has claimed to be privileged from the search remain to be
   litigated and both sides have agreed to honor any validly asserted privilege
   relating to those documents.
          The Government contends that it had no reason to believe before
   December 7, 2018 that there were any issues with the filter protocol that was
   implemented at Eden Gardens and that any issues with the search were not a
   result of bad faith. According to the Government, as soon as Young learned of a
   potentially privileged document, review of the Eden Gardens documents
   ceased, and as soon as she became aware that certain agents had been
   involved in the search, they were removed from the prosecution team.
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                  1. Relevant Facts

          Agents arrived at Eden Gardens to execute the search warrant issued by
   Magistrate Judge Chris M. McAliley on July 22, 2016. The search warrant
   authorized the search of the office suite at Eden Gardens and seizure of
   business records related to the health-care fraud investigation of Esformes.
          Prior to the execution of the search warrant, agents conducting the
   search knew that Norman Ginsparg, an attorney who was a business associate
   of Esformes, worked at Eden Gardens. The Government was aware that
   Ginsparg was a lawyer licensed in Illinois, but not licensed in Florida. Some
   cooperating witnesses had told the Government that Ginsparg was Esformes’s
   attorney or that Ginsparg had done legal work for Esformes. But other
   witnesses had told the Government that Ginsparg was not Esformes’s attorney.
   Special Agent Clint Warren, the lead taint agent, had been told that Ginsparg
   was a business associate of Esformes and was involved in the fraud scheme.
   Ginsparg was known to have helped make sham contracts and to help hide
   kickback moneys and payments for Esformes.
          Thus, in an abundance of caution, the Government established a taint
   protocol and only non-case agents were to be utilized in conducting the search.
   The search agents were to place any materials they believed could be
   potentially privileged into a “taint” box, which were to be subsequently reviewed
   by a filter attorney. But, no filter prosecutor was assigned to participate in a
   filter review during the search. And, although a taint protocol was to be
   followed, many of the taint agents had actually participated in investigations
   with some relation to Esformes prior to the search, some in a significant way.
   Other agents had not participated in this or related investigations prior to the
   search but became actively involved in the Esformes investigation after the
   search. Further, even though the whole purpose of having a taint team was
   because of the presence of Ginsparg, the agents did not receive sufficient
   instructions on how to treat the materials recovered from Ginsparg’s office.
          On the morning of the search, Descalzo spoke with Government agents
   on the scene to inform them of potential privileged documents on the premises.
   Agent Warren was aware that Descalzo had been there. However, he did not
   speak to her and did not know that she went to Eden Gardens to invoke the
   attorney-client privilege with respect to the search and seizure being conducted
   there. Warren acknowledged that Special Agent Mark McCormick spoke to
   Descalzo, but explained that he did not speak to her because he was doing
   other functions.
          Moreover, Descalzo sent an email to Young the morning of the search,
   asserting that there were privileged documents inside of Eden Gardens. Young
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   did not open the email until later in the day, and forwarded it to her supervisor
   at the DOJ, Allan J. Medina, at 1:50 p.m. Descalzo stated in her email: “I have
   informed agents that they are seizing attorney-client privileged materials.
   Ginsparg identified his files for agents. Ginsparg is an attorney. He provided
   counsel for companies, Mr. Esformes, and others. These are privileged files. We
   are not waiving any privilege.” See 11/6/17 Transcript, ECF No. 625 at
   134:20–135:3.
          Ginsparg also identified materials in his office that he claimed were
   privileged and unrelated to his business dealings with Esformes on the day of
   the search. Agent Warren and Young both testified that Ginsparg was given the
   opportunity to do a walkthrough and identify documents that were not part of
   the fraud scheme, which he did. Ginsparg was also given a property receipt to
   sign at the end of the search. Warren testified that did not speak to Ginsparg at
   that time and did not ask him for information regarding any privilege claims in
   relation to Esformes’s documents.
          Despite this, the executing agents were not provided the names of the
   attorneys of Esformes or the law firm of those attorneys. Hundreds of
   documents, clearly prepared by law firms and/or marked “privileged and
   confidential” or “attorney/client privilege” or “work product privileged” or “legal”
   were not segregated and placed in the “taint box” and were, thus, within the
   boxes providedto the prosecution team. Agent Warren acknowledged before
   Judge Otazo-Reyes that he did not even know that Carlton Fields was the law
   firm representing Esformes, or that one of the boxes of seized materials was
   labeled “Carlton Fields.” Warren also stated that the word “legal” written on the
   label of another box of seized materials did not stand out to him. With regard to
   another box of seized materials, labeled “court documents,” Warren did not
   take any steps to ensure that it did not contain privileged materials.
          The search resulted in the seizure of 70 boxes of materials, one of which
   was the “taint” box. The other 69 boxes were enumerated and believed to
   include reviewable documents.
          Young proceeded with the review of the Eden Gardens materials
   sometime around late July and early August of 2016. Young testified that she
   did not believe that she was keeping Descalzo’s email a secret from Esformes’s
   team or her colleagues at the Justice Department and added that Agent
   Terence Reilly contacted her supervising attorney Nick Surmacz on the day of
   the search about this issue. The use of a filter team had been confirmed, which
   prompted Ginsparg being allowed to enter the search site and point out any
   privileged materials to the agents.
          In August 2016, the Government sent nearly all of the Eden Gardens
   materials to a third-party vendor in the Washington, D.C. area for scanning.
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   Box #6 and Box # 31 were not sent to D.C. Esformes’s team did not review the
   documents before they were sent out for scanning.
          On August 17, 2016, Young sent a letter to Esformes’s counsel informing
   them that the Eden Gardens search warrant materials were available for their
   review at the FBI office in Miramar, Florida. On August 24, 2016, Young sent to
   all defense counsel in the case duplicates of the thumb drives that had been
   seized from Eden Gardens.
          In December 2016, however, Young came across a document that
   appeared to be a memorandum with the name of what appeared to be a law
   firm in the header. Young testified that once she came across privileged
   information when reviewing the Eden Gardens documents, she stopped,
   informed AUSA Drew Bradylyons, and consulted with her supervisors.
          Young and Bradylyons consulted with their DOJ supervisors on
   December 15, 2016 to establish a filter team to conduct a review of the Eden
   Gardens materials. In late January 2016, a Chicago-based DOJ attorney was
   assigned to serve as a filter attorney and was to be supervised by a DOJ
   Assistant Chief in Washington, D.C. The Government used a filter team and
   proceeded with the review process that they had in place to segregate
   potentially privileged information which had been seized from Eden Gardens.
          On February 10, 2017, Esformes’s counsel informed Young that, upon a
   review of the boxes of materials seized from Eden Gardens, they had found that
   four of the boxes contained attorney-client privileged and work-product
   materials. Counsel also requested that the boxes be segregated and not viewed
   or copied by the Government pending a ruling from the Court. The Government
   advised that it would not review any Eden Gardens materials until a filter
   process was agreed upon. Young also referred Esformes’s counsel to the filter
   prosecutors who were expected to review the Eden Gardens materials. Given
   this communication, the Government obtained permission to have a non-case
   paralegal scan the two boxes (Boxes #6 and #31) that had not been sent to the
   third-party vendor in Washington, D.C. The scanning of these boxes was
   completed on March 8, 2017.

               i.    Did Esformes waive any privilege claim relative to the search?

          The Government claims that Esformes waived any privilege issues
   relating to the search of Eden Gardens. Judge Otazo-Reyes found that given
   the Government’s assurances that the search was being conducted by a “filter
   team,” Esformes acted promptly in preserving his privilege claims and found no
   factual basis for the Government’s argument that he waived those claims
   through subsequent inaction.
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         The Court agrees with Judge Otazo-Reyes. Descalzo appeared at Eden
   Gardens the morning of the search to assert Esformes’s privilege claims, and
   spoke to Agent McCormick, who was leading the Eden Gardens search team.
   Descalzo also sent an email to Young the morning of the search, asserting that
   there were privileged documents inside of Eden Gardens. That email was
   forwarded by Young to her supervisor, Medina, that afternoon. These actions
   were sufficient to preserve Esformes’s claims of privilege.

               ii.   Was the Government required to implement an effective “taint
                     protocol” for the Eden Gardens search?

          Prior to the search of Eden Gardens, the Government had information
   that Ginsparg was a lawyer, albeit not licensed in Florida, with an office in
   Eden Gardens. The Government was informed by Gabriel Delgado and other
   cooperating witnesses that Ginsparg handled lawsuits and legal paperwork in
   his office and where his office was located.
          Notwithstanding this, the Government contends it had a basis to
   question or disregard the attorney-client relationship between Esformes and
   Ginsparg because it knew Ginsparg was not licensed to practice law in Florida,
   and therefore could not lawfully practice in the state and could not have
   established a law office at Eden Gardens. The Government also relies on the
   fact that Gabriel Delgado insisted that Ginsparg did not represent Esformes as
   an attorney. Further, to the extent he was Esformes’s attorney, the
   Government contends that not every conversation with Ginsparg is per se
   privileged just because he is an attorney.
          Although the Government is correct that Ginsparg cannot lawfully
   practice in this state, the Court finds Ginsparg meets the definition of an
   attorney for attorney-client purposes under Florida law as found by Judge
   Otazo-Reyes. Florida Statute § 90.502 defines the term lawyer for purposes of
   the attorney-client privilege as “a person authorized, or reasonably believed by
   the client to be authorized, to practice law in any state or nation.” Fla. Stat. §
   90.502(1)(a) (emphasis added). Ginsparg meets this definition and the
   Government should have considered this before completing its search of Eden
   Gardens.
          Notwithstanding the Government’s belief that Ginsparg was a co-
   conspirator and/or business associate of Esformes, the Government was aware
   that Ginsparg was an attorney who had worked in some capacity as Esformes’s
   attorney prior to initiating the search at Eden Gardens. Therefore, the
   Government should have implemented an effective taint protocol in conducting
   the Eden Gardens search. As discussed further below, the Court finds that
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   although the Government attempted to implement a taint protocol prior
   conducting its search of Eden Gardens, its preparation for and the methods
   used during and after the search were sloppy and ineffective.

               iii.   Was the “taint protocol” adopted by the Government effective?

          The “taint” protocol adopted by the Government called for the use of non-
   case agents to conduct the search of Eden Gardens, and for those agents to
   segregate attorney client and/or work product privileged materials in a “taint”
   box. However, based on the testimony of Agent Warren, Investigators Joyce
   Cavallo and Abe Jurado, and Special Agent Bryan Lugones, it is apparent that
   the taint agents were either provided inadequate instructions or ignored those
   instructions, and the search was conducted in a way that can best be
   described as clumsy and border-line incompetent.
          As stated by Judge Otazo-Reyes, “[c]onsequently, only a handful of
   documents were placed in the ‘taint’ box, while numerous documents bearing
   law firm letterheads, and documents variously marked ‘privileged,’
   ‘confidential,’ ‘work product,’ and ‘attorney/client’ went into the 69 boxes of
   purportedly non-‘taint’ materials.” (Report, ECF No. 899 at 107.) To give some
   perspective, as Judge Otazo-Reyes pointed out in her Report, one of Esformes’s
   attorneys, Rosanna Arteaga-Gomez, prepared a privilege log consisting of 1,244
   entries showing privilege claims for approximately 800 items. The Government
   acknowledges that these privilege claims must still be litigated and that it
   would not rely on any items determined to be privileged. Nonetheless, these
   results clearly show that the Government’s “taint” protocol was to a large
   extent inadequate and ineffective.
          Further, despite the Government’s requirement to utilize non-case agents
   to execute the search at Eden Gardens, the Government relied on several
   agents for the search who had participated in other health care fraud cases
   that bear some relationship to the Esformes case or who were later used in the
   underlying Esformes investigation. The use of these agents raises questions
   about their independence and effectiveness as members of the filter team. As
   such, the decision to allow these agents to participate in the search was also
   ill-advised.

               iv.    Did the prosecution team improperly review materials from the
                      Eden Gardens search prior to further scrutiny by “taint”
                      attorneys?

        Magistrate Judge Otazo-Reyes found that the prosecution team reviewed
   materials from the Eden Gardens search before “taint attorneys” were added to
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   the process. The Court agrees.
          Before any action was taken to share the seized documents with
   Esformes, Young conducted a “pretty informal” review of the documents
   obtained at Eden Gardens to “see what kind of documents [the Government]
   had.” (Report, ECF No. 899 ¶ 251.) During that search, she came across what
   have become known as the “Descalzo documents.” Young found the “Descalzo
   documents” in Box #12. She took them out for copying but then placed them
   back in Box #6 instead of Box #12.
          As a result, the scanned version of the Eden Garden materials initially
   provided to Esformes did not include these documents. The Government used
   the “Descalzo documents in Ginsparg’s reverse proffer and the Bengio
   debriefings in September and October 2016, which are discussed in further
   detail below. Agent Reilly independently recommended to Young that she use
   the Bengio notes, which are contained within the Descalzo documents, in
   conducting the Ginsparg reverse proffer.
          Unlike many documents seized from Eden Gardens which were marked
   with the name of a law firm or were marked “attorney-client privileged,” there
   are no writings or markings on the “Descalzo documents” which would alert
   anyone that the documents were privileged. Young was first alerted to a
   potential privilege issue as to these documents as early as September 25, 2016
   by Bengio’s attorney at Bengio’s first debriefing and again on November 2,
   2016 via email from Ginsparg’s attorney, David O. Markus. Nevertheless,
   Young continued her review of the documents until December 7, 2016, when
   she came across a different document that appeared to be privileged.
   Esformes’s team, however, did not become aware of the Descalzo documents
   until February 2017, when Esformes’s attorneys conducted a physical
   inspection of the documents seized from Eden Gardens.
          Even after Young found the potentially privileged document on December
   7, 2016, she did not inform the Court or Esformes. When the Esformes’s team
   pointed out the privileged nature of certain documents in the Eden Gardens
   boxes they had begun to review, Young stated that “the Eden Gardens
   materials are currently being reviewed by a filter team and not by the
   prosecution team” and directed them to Attorney Leo Tsao, who was
   supervising the filter review and had been assigned to the case after the
   execution of the search. (Emails, ECF No. 329-51 at 7. (emphasis added)). On
   March 9, 2017, after some disagreement between the parties, Bradylyons sent
   an email to Esformes’s defense team stating that it would not conduct a filter
   review until the Court approved of a filter protocol. (Id. at 18–19.)
          Other members of the Esformes prosecution team also viewed Eden
   Gardens search materials prior to any review by “taint” attorneys. Specifically,
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   Special Agent Jonathan Ostroman conducted a quick review of two or three of
   the boxes before they were sent out for scanning since he had received no
   instructions to refrain from reviewing those boxes. He also reviewed some of
   the electronic media, namely, thumb drives. Agent Warren, however, testified
   before Judge Otazo-Reyes that the search agents only conducted a cursory
   review of the documents at Eden Gardens in the course of the search and that
   there was no review at all of the electronic storage media that was seized, based
   on his understanding that these items would be processed at a later date.
          The Court finds that there were numerous occasions in which the
   Government could and should have implemented a filter protocol after the
   Eden Gardens search but failed to do so. First, as previously discussed,
   Descalzo’s numerous privilege alerts should have warranted a response from
   the Government after the search, if not before the search. Knowing after the
   search that Descalzo had raised this issue, the Government could have
   developed a post-search taint protocol with a filter team to ensure that no
   potentially privileged documents were turned over to the prosecution team.
   Even accepting that the Descalzo documents did not appear to be privileged on
   their face, Young was alerted as early as September 2016, during the Bengio
   debriefings. And, even when Young did come across a potentially privileged
   document in December of 2016, she did not alert Esformes’s team or this
   Court. It was only in February that this issue came to the fore.
          Accordingly, the Court finds that the Government continued to act with
   disregard for potential privilege issues after the Eden Gardens search..

               D. The “Descalzo Documents”: Ginsparg’s Reverse Proffer &
                  the Bengio Debriefings

          Judge Otazo-Reyes found that the Government utilized privileged
   materials, the “Descalzo documents,” in conducting debriefings of Jacob
   Bengio, Ginsparg’s assistant. Judge Otazo-Reyes, although finding these
   documents were also used in Ginsparg’s reverse proffer, did not make a
   particular finding as to the propriety of their use at the reverse proffer.
          The Government argues that these documents bear no indication on
   their face of being attorney-client documents or attorney work product, and
   that any use of the documents during the Bengio debriefing was done in good
   faith. The Government asks that the Court reject Judge Otazo-Reyes’s adverse
   findings about the prosecution team’s attempt to “obfuscate the record” by
   providing a changed narrative as to the invocation of privilege by Bengio’s
   attorney, Robin Kaplan, at his debriefings.
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                           i. The “Descalzo Documents”

          The Descalzo documents seized from the Eden Gardens search were used
   during two investigative episodes by the Government: (1) Ginsparg’s reverse
   proffer and (2) Jacob Bengio’s debriefings. The Descalzo documents are
   comprised of 12 pages of Quickbook and Excel spreadsheets and three pages of
   notes prepared by Bengio. There are also some handwritten notes of Ginsparg
   and Bengio on the spreadsheets. The documents are mostly financial records
   related to the La Covadonga and Family Rest entities. The documents were part
   of a project Ginsparg asked Bengio to complete that was for Descalzo’s ultimate
   review.
          By way of background, Bengio is a Miami native who obtained a
   bachelor’s degree in finance and business administration from Florida
   International University and a master’s degree in taxation from Nova
   Southeastern University in 2009. He worked at Eden Gardens in 2002 as an
   assistant administrator. He stayed on when Eden Gardens was acquired by the
   previous operator’s pharmacies in 2004. At that time, Bengio started working
   for Ginsparg. Bengio has held the titles of assistant director of legal affairs,
   assistant director of finance and, most recently, director of finance of ALF’s.
          In October 2015, Ginsparg asked Bengio to compare the agreements
   between the Esformes entities and La Covadonga and Family Rest with what
   actually occurred. Pursuant to this request, Bengio went into QuickBooks,
   identified where all the payments were, and exported the reports he generated
   in QuickBooks into an Excel spreadsheet. Soon after he was assigned this task,
   Bengio learned that his results were going to be presented to Ginsparg’s
   attorney, Descalzo. Bengio had multiple meetings with Ginsparg about the
   project. At a November 2015 meeting with Ginsparg, Bengio took notes to
   complete his tasks. These notes are what have become known as the “Bengio
   notes.”
          In early January 2016, Bengio forwarded the final summaries of his work
   to Descalzo after having presented his findings to her in person. Certain of the
   comments he had entered on the Excel spreadsheets appeared in the final
   version of the project sent to Descalzo.
          Printed copies of Bengio’s drafts were seized during the Eden Gardens
   search. The Government believed that these documents included proof of
   obstruction of justice. The Government was particularly interested in a
   notation Bengio had included that said “remove payments to ALFH and to PE.”
   Bengio later explained that this notation was included because Descalzo was
   only interested in payments from the Delgados to Esformes and those
   payments were inapplicable.
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                      ii.   The Ginsparg Reverse Proffer

          The Ginsparg reverse proffer took place on September 20, 2016 at the
   FBI health care fraud facility in Miramar, Florida. In a reverse proffer, the
   government makes a presentation to the target of an investigation to show the
   target that the government has a strong case against him and to convince him
   to cooperate with the government. The target generally listens and does not
   speak during a reverse proffer. The following persons were present at
   Ginsparg’s reverse proffer: FBI Agent Myers, HHS Agent Ricardo Carcas, FBI
   Agent Ostroman, AUSA Young, AUSA Bradylyons, Attorney Ginsparg, and his
   counsel, Markus. Young chose to rely on the “Descalzo documents” in the
   Ginsparg reverse proffer.
          Young did most of the talking at the Ginsparg reverse proffer in
   presenting the government’s position to Ginsparg and his counsel. Neither
   Agents Ostroman nor Carcas had specific recollections of the details of what
   was said. None of the agents took notes at the Ginsparg reverse proffer since
   Ginsparg only listened and did not speak.
          Young believed that the Bengio notes related to the Quickbook printouts,
   and that the notes related to a fraudulent scheme. In particular, she believed
   that instructions related to removing payments from ALF Holdings, were
   supporting evidence of kickback payments that the Government had already
   discovered and obstruction of justice. Ginsparg’s attorney did not raise a
   potential privilege issue at the reverse proffer.
          It was not until November 2, 2016 that Ginsparg’s counsel, Marcus,
   raised the issue of a potential privilege issue via an email to prosecutors. In his
   email, Ginsparg’s counsel stated something to the effect of: “Mr. Ginsparg did
   not actually remove payments and that arguably, this is work product that
   could not be used against him at trial.” (Report, ECF No. 899 at ¶ 320.)
          After discussing the issue raised by Ginsparg’s counsel with their
   supervisors, Young and Bradylyons decided to put the documents aside and to
   seek blessing from the Court should the Government want to actually use
   those documents in an affirmative sense. According to Bradylyons, the
   Esformes prosecution team disagreed with the assertion of work product
   privilege as to the “Descalzo documents” and assumed that, to the extent they
   would be using the documents down the road, they “would have to litigate
   whether it was work product, whether there was a crime fraud exception, and
   whether [they] could use it moving forward.” (ECF No.685 at 82:2–4.)
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                     iii.   Bengio Debriefings

          On September 28, 2016 and October 14, 2016, Bengio met with agents
   and prosecutors for debriefings. Bengio had retained Robin Kaplan to represent
   him during the investigation phase of this case.
          During the debriefings, Bengio was shown the “Descalzo documents.” All
   of the witnesses agree that Kaplan alerted the Government to the fact that
   there was a possible work-product privilege issue. The main dispute in the
   testimony, which the magistrate judge had to resolve, was whether Kaplan’s
   assertion of work-product privilege related to one line in the notes or whether
   the assertion of privilege related to the notes as a whole. Further, there was
   conflicting testimony regarding Young’s questioning of Bengio regarding notes
   contained within the documents that were handwritten by Ginsparg.
          In order to determine what happened during the Bengio debriefings,
   Judge Otazo-Reyes considered and weighed the testimony of agents Carcas,
   Myers, Mitchell and Ostroman, prosecutors Young and Bradylyons, and Bengio
   and Kaplan. The magistrate judge also considered pre-hearing affidavits
   submitted by some of those witnesses..

               a. Prosecution team’s version of the Bengio debriefings:

           Agents Carcas, Myers, Mitchell and Ostroman were present for the two
   Bengio debriefings conducted by the Esformes prosecution team. Mitchell and
   Myers took notes during the September 28 debriefing and Ostroman was
   responsible for taking notes during the October 14 debriefing. According to
   Ostroman, Bengio was given a proffer letter for the October debriefing to invite
   him to speak without fear of self-incrimination.
           At the September 28, 2016 debriefing, which lasted approximately three
   hours, Young asked Bengio questions. Initially, she went over his background
   information to get a feel for his roles and responsibilities, particularly with
   regard to various corporations, and then she went on to discuss some of the
   documents attached as “1A Materials” to the FBI Form 302 prepared for the
   debriefings.
           Although Agent Carcas testified that Bengio identified himself as
   Administrative Assistant to Norman Ginsparg, Director of Legal Affairs, Young
   testified that, during the first Bengio debriefing, Bengio described his work as
   involving administrative rather than paralegal tasks; and that his day-to-day
   duties were those of a bookkeeper in that he wired money, cut checks, filed
   incorporation documents for companies, performed bookkeeping duties, and
   kept track of luxury vehicles provided to Esformes employees as incentives.
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         At the first debriefing, Young also asked Bengio about the contents of the
   Descalzo documents. Young asked Bengio to explain the tasks that were listed
   in some of the Descalzo documents and asked a series of questions about other
   entries in the Descalzo documents.
         Bengio identified the Bengio notes as his own and he explained what
   each of the notes meant. According to Young, Bengio stated that he had had a
   meeting with Norman Ginsparg in November 2015 and the Bengio notes were
   the notes from this meeting. Young attached significance to the note page that
   had the entry “remove payments to ALFH and PE,” as being possible evidence
   of obstruction by removing payments from the books. Young testified that she
   believed only one bullet point in the Bengio notes related to a project that he
   was working on for Descalzo, namely the note that said, “put comments in
   actual column.”
         Bengio also identified the handwriting on the QuickBooks printouts as
   belonging to Norman Ginsparg. According to Young, no more questions were
   asked about these documents once Bengio identified the handwriting as
   Ginsparg’s. However, Young did later concede that she asked about documents
   with Ginsparg’s handwriting on it at the second debriefing. (Report, ECF No.
   899 at 111, n.53.)
         Young stressed her view that, during the first Bengio debriefing, Kaplan
   never said that all of the Bengio notes reflected Descalzo’s work product. Young
   also stated that, if Kaplan had made any such statement, she would have
   stopped the first Bengio debriefing immediately because she would have
   understood Kaplan to be making a work product or privilege claim. Young
   added that she felt confident from the first meeting that Kaplan had alerted her
   to the potential privilege issue. She felt as though she had successfully avoided
   it. There was no point in which she thought in that interview that she was
   asking about something that was privileged or work product. Young testified
   that she viewed Kaplan’s reference to a project for Descalzo as limited to the
   creation of a spreadsheet. Young could only recall that Bengio said “this has
   Mr. Ginsparg’s handwriting, and that was all he knew about the spreadsheet.”
   (Report, ECF No. 899 at ¶ 266.)
         In her pre-hearing declaration, Young described this interaction as
   follows:

         At one point I showed Jacob Bengio the Descalzo documents and
         stated I believed that these documents constituted evidence of a
         crime because there was a notation, removing payments to ALF
         [Holdings] and to PE. I asked Jacob Bengio if he removed payments
         from the company accounting records. Jacob Bengio’s counsel
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         advised that his notes, including the notation regarding removing
         payments, were taken during a conversation Jacob Bengio had
         with Norman Ginsparg after Ginsparg had a meeting with Ms.
         Descalzo, during which Ms. Descalzo had asked him to undertake
         a project.

          Bradylyons had no independent recollection of where in the notes Kaplan
   made her work product or privilege assertion. He did not doubt that it
   happened next to the “put comments in actual column.” He did not believe it
   was in response to the “remove payments” bullet because that was a bullet that
   they were particularly interested in. Bradylyons also testified that, while being
   shown the “Descalzo documents,” neither Bengio nor his counsel asked to stop
   the debriefing. Bengio stated that his notes were generated from a meeting that
   he had with Ginsparg and did not say he had a meeting with Descalzo.
          On November 2, 2016, Young met with Ginsparg’s counsel who asserted
   that Ginsparg did not alter any company books and that the spreadsheets and
   the handwritten notes by Bengio were arguably work product of Descalzo
   under an agency theory and that the government would arguably not be able to
   use that at trial against Ginsparg. As a result, the Esformes prosecution team
   decided that if it wanted to use those notes affirmatively in their case against
   Ginsparg, it would first file a motion with the duty court asking for a crime
   fraud exception on the notes, but that until that point, the notes would not be
   used for any purpose until they received a ruling as to the crime fraud
   exception.
          When asked about bringing to the Court’s attention her having been
   exposed to work product belonging to Esformes, Young responded that the
   prosecution team did not feel it was necessary just because Ginsparg’s attorney
   had told them it was arguably a potential for being work product. There were a
   number of issues which would have to be litigated, including the fact that those
   notes were in the possession of a third party. There was also a question of
   whether Descalzo was personally involved in their creation. Young also thought
   that Quickbooks are not typically work product and Bengio did not describe his
   work as having been done in anticipation of litigation. And finally, she thought
   that the instruction regarding removing payments was potential for crime
   fraud.
          Young testified that the items that she selected and used for the first
   Bengio debriefing did not affect the Esformes investigation in any way, and had
   nothing to do with: any of the charges against Esformes; the indictment; the
   superseding indictment; or, any subsequent witnesses and evidence that she
   located. Young also testified that she did not learn any defense strategy from
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   reviewing the Bengio notes and that the moment that Bengio described putting
   comments into a column for a spreadsheet for Descalzo she stopped asking
   about it and she does not have any awareness of what it was that Bengio made
   for Descalzo. Carcas testified that the documents used in the Bengio
   debriefings did not influence his investigation in any way. Relatedly, Myers also
   testified that neither the documents presented nor the information exchanged at the
   Ginsparg reverse proffer on September 20, 2016 influenced his investigation in any
   way.

               b. Kaplan and Bengio’s version of Bengio debriefings

          In preparing for the first Bengio debriefing, Kaplan became aware that
   the government considered certain notes to be “smoking gun” evidence of
   obstruction. Kaplan also understood that the notes were potentially work
   product privilege belonging to Esformes. Kaplan and Bengio had a joint defense
   agreement with Ginsparg and his counsel, and she was able to view the Bengio
   notes that had been obtained by Ginsparg’s counsel after the Ginsparg reverse
   proffer. Kaplan met with Ginsparg’s counsel concerning the potential work
   product privilege just one hour before the first Bengio debriefing so she was
   very focused on that issue when the debriefing took place.
          Kaplan devised a strategy to raise the privilege, alert the government that
   there may be an issue, and let them deal with it. But, she would allow Bengio
   to answer questions so that in the event that this was what the Government
   believed to be “smoking gun” evidence of a crime, Bengio was not implicated
   and he could explain to them what the notes actually were and the
   Government could stop making incorrect assumptions.
       According to Kaplan, the initial portion of the first Bengio debriefing was a
   normal inquiry into her client’s background. Kaplan testified that when the
   notes came up during the debriefing, Bengio began to answer questions
   whether or not his handwriting appeared on the notes. Kaplan said she raised
   the issue of privilege with Young and advised her that the notes related to a
   project that was done for Descalzo, who Kaplan understood to be Esformes’s
   defense attorney. Kaplan expected the prosecution to take her assertion of the
   privilege seriously, but Young did not.
       Kaplan told Young that she did not only point to one line, that she told
   Young that the notes as a whole were related to a meeting Bengio had with
   Ginsparg about a project for Descalzo. Kaplan reiterated that she raised
   privilege as to all the notes, not just one line of the notes.
       Kaplan testified that it was her recollection that the spreadsheets were
   shown to Bengio after the notes. She was not previously aware of spreadsheets,
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   but Bengio knew what they were when he saw them, and he explained that the
   Excel spreadsheets pulled from Quickbooks that were shown to him were
   related to the notes.
          When Kaplan was in court and heard Young’s testimony, she felt that
   Young had been untruthful by testifying that the assertion of the privilege
   related to only one line in the notes. Kaplan immediately brought it to the
   attention of AUSA Daniel Bernstein, who she knew and respected, via an email
   sent on November 7, 2017 at 12:15 p.m. After the court lunch break that same
   day, AUSA Bernstein approached her to talk about the email and she told him
   that everything Young said about how the privilege was asserted was not
   correct. Kaplan said she was quite certain about how she had asserted the
   privilege because she knew in advance of the debriefing about the notes.
          Kaplan added that she asserted the privilege for the entire notes because
   it would have made no sense to assert a privilege for one line. Bengio was
   asked questions line by line about the notes and was asked questions about
   the Excel spreadsheets that were presented to him. Bengio tied the Excel
   spreadsheets to the notes. He explained that he was happy to see the
   spreadsheet since they helped explain the notes. Bengio explained the notes
   and spreadsheets related to a project they were doing.
          When he was asked about the notation “remove payments,” Bengio said
   he could not remember why he wrote it, but explained that all of the notes
   including the “remove payments” would have been related to the Excel
   spreadsheets he was working on. He made it clear that he did not remove
   anything from the company QuickBooks and none of the notes actually related
   to doing anything in the company QuickBooks. It was all related to the project
   for Descalzo.
          Kaplan was questioned about differences between her proffer and her
   hearing testimony. She explained that she did not draft the proffer sequentially
   and it was a summary of the entire event from the explanation of the Bengio
   notes. To her, the important issue for the proffer was explaining that the notes
   were privileged and why they were privileged.
          Bengio testified before Judge Otazo-Reyes that, while he is not an
   attorney and has no legal training, he assisted Ginsparg, who he knows to be
   an attorney, with his duties. He also observed Ginsparg functioning as an
   attorney for Esformes by doing legal work related to Esformes’s divorce (by
   communicating and working with Esformes’s divorce attorneys), consulting on
   private property acquisitions, communicating with Esformes’s criminal defense
   counsel, and working with Esformes’s personal tax attorney.
          In October 2015, Ginsparg approached Bengio to go back in time and
   understand what occurred during the relationship of La Covadonga and Family
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   Rest and the Esformes entities. According to Bengio, that relationship had
   ended in 2010. Specifically, Ginsparg asked Bengio to compare what the
   agreements with La Covadonga and Family Rest provided for with what
   actually occurred. Pursuant to this request, Bengio went into QuickBooks,
   identified where all the payments were, and exported the reports he generated
   in QuickBooks into an Excel spreadsheet.
          Soon after he met with Ginsparg, Bengio learned that the purpose of the
   assignment was to be able to present the results directly to Descalzo. Bengio
   acknowledged that he was never instructed by Ginsparg or Descalzo to mark
   the documents he was working on as “attorney client.”
          At the hearing, Bengio compared some spreadsheets with ones he was
   shown during his debriefings and explained that the latter were printouts of his
   work. At his debriefing, after he had identified Ginsparg’s handwriting on the
   printouts shown to him, Bengio stated that he was asked questions about
   them, which he answered.
          Bengio recounted that at his debriefing, rather than being told by the
   prosecutors that they did not want to hear about the project, he was merely
   told that they did not want to know what he had said directly to Descalzo.
   When shown the first page of the Bengio notes, he said that this was a meeting
   between Ginsparg and himself regarding a project he was working on for
   Descalzo. He also testified that Kaplan stated at that point that the notes could
   be potentially privileged materials. His understanding regarding Kaplan’s
   privilege statement was that it referred to everything about the project and was
   not confined to a particular line in the Bengio notes.
          At his debriefing, Bengio explained to the prosecution team that the
   Bengio notes reflected Ginsparg’s feedback on the project they were discussing
   at their November 2015 meeting. After giving this explanation, Bengio was
   asked to go through the Bengio notes one by one and explain them to the
   government.

                     c.     Judge Otazo-Reyes’s Findings

          The magistrate judge found the assertion by Young that the Descalzo
   project related only to one bullet point to be inconsistent with her pre-hearing
   affidavit, which discussed the Bengio “notes” in the plural, not singular. Young,
   Bradylyons and Mitchell had each filed pre-hearing affidavits in which each
   referred to the Bengio “notes.”
          Accordingly, Judge Otazo-Reyes found that the prosecution team
   presented “an internally inconsistent narrative” regarding Kaplan’s warning
   about the privileged nature of the Bengio notes. She “assign[ed] no credibility to
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   the prosecution team’s ‘new narrative,’ which, in any event, ma[de] no logical
   sense; and deplore[d] the prosecution team’s attempts to obfuscate the record.”
   (Report, ECF No. 899 at 110.) Judge Otazo-Reyes also assigned no credibility to
   the proposition that Young stopped asking questions about the
   QuickBooks/Excel spreadsheets after Bengio identified Ginsparg’s handwriting
   on them. Rather, she found that Young wholly disregarded all privilege
   concerns in conducting the Bengio debriefings. She also found Bengio’s
   testimony to be “cogent and credible” and accepted it as “an accurate
   description of the events in which he participated.” (Report, ECF No. 899 at
   110.)
          Judge Otazo-Reyes concluded that the Government’s exhaustive
   questioning of Bengio regarding all the details of the Bengio notes and the
   related QuickBooks/Excel spreadsheets constituted a violation of the
   Descalzo’s work product privilege. However, in making her prejudice ruling,
   found that the “Descalzo documents” were not used to charge Esformes or
   Ginsparg with any offense.
          The Government argues vehemently that the Court need not accept
   Judge Otazo-Reyes’s credibility finding regarding the use of the Bengio notes
   during Bengio’s debriefings because either (1) such a finding is contradicted by
   the record; or (2) it is an unnecessary ruling given the lack of prejudice to
   Esformes. The Government also informs the Court that it does not intend to
   use the Bengio notes in its case in chief, so any finding of misconduct as to
   these issues is moot.
          The Court agrees with Judge Otazo-Reyes that these documents are
   privileged given that they were created for Esformes’s attorney for purposes of
   coming up with a strategy in defense of the kickback claims against Esformes.
   The Government attempted to use the information contained in those
   documents to gather more information from Esformes’s confidant, Ginsparg,
   and his assistant, Bengio.
          However, the Court agrees that Esformes has not sufficiently
   demonstrated that he was prejudiced by the use of the Descalzo documents.
   Although these documents were used in the investigative process, the
   documents did not ultimately produce any charges against Esformes. And
   while Esformes contends that these documents were some sort of blueprint for
   his defenses, the Court is unconvinced that a review of these documents
   resulted in any real advantage to the Government.
          Having found that there was no demonstrable prejudice from the use of
   the “Descalzo documents,” and given the Government’s agreement not to use
   the documents during the trial, the Court first finds that it is unnecessary to
   adopt the Magistrate Judge’s credibility determinations and findings of
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   “misconduct,” “attempts to obfuscate the record,” and creating a “‘new’
   narrative,” particularly given the adverse consequences of such findings to the
   careers of the prosecutors. See United States v. San Pedro, 781 F. Supp. 761,
   771 (S.D. Fla. 1991) (Gonzalez, J.) (“[T]he Court cannot, based on the review of
   a cold record and in light of the testimony of all parties, make a finding that
   Behnke and Fernandez deliberately lied when they testified before Magistrate
   Judge Snow. Moreover, such a finding is unnecessary to the Court’s ruling on
   the defendant’s motion.”).
          But, the Court finds that there is an articulable basis in the record for
   rejecting those credibility findings. At the end of the day, the factual dispute
   really comes down to whether the prosecutors thought the assertion of the
   privilege was for a “note” or for “notes.” All of the attorneys who testified
   concerning the “Descalzo documents,” including Kaplan, had inconsistent
   recollections of which of the notes and/or spreadsheets were included in the
   invocation of the privilege. Even Descalzo herself had provided a written proffer
   that “the Excel workbook is my work product,” but she did not say that the
   three pages of Bengio’s notes were included as work product.
          During the reverse proffer of Ginsparg, he and his attorney were shown
   the “Descalzo documents” and were told that the Government believed notes on
   the documents showed a criminal attempt to remove certain records.
   Ginsparg’s attorney may not have known at that time about the potential work
   product nature of the documents but he certainly knew before the first Bengio
   debriefing as evidenced by his alerting of Kaplan to that fact just before the
   first Bengio debriefing. But Ginsparg’s attorney also knew that there was an
   innocent explanation for the notes and it was to Ginsparg’s benefit to have
   Bengio review the documents with the Government and provide that innocent
   explanation. He may not have had a legal or ethical obligation to notify the
   Government but he chose to alert Kaplan before the first Bengio debriefing and
   did not send an email to the Government alerting it of the potential work
   product issue until November 2, 2016 – after the second Bengio debriefing.
          From a complete and careful reading of the record, this Court concludes
   that the difference in the testimonies of Young and Kaplan and the difference in
   pre-hearing affidavits and trial testimony of the prosecutors is due to
   differences in memories and from misunderstandings, and not due to any
   intentional attempt to lie or subvert justice.
          The Court finds that Kaplan’s recollection relating to the use of the
   “Descalzo documents” is more accurate than the prosecutors’ recollection. After
   all, Kaplan was told just an hour before the debriefing by Ginsparg’s attorney
   to be on alert for the documents and their potential work product nature. But,
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   because Kaplan’s testimony is more accurate does not equate to Young’s or
   Bradylyons’s testimony being perjurious.
          The problems with the use of the “Descalzo documents” as well as the
   search of the Eden Gardens and the Ginsparg text messages, to be discussed
   infra., stem in part from the prosecution team’s belief that Ginsparg was acting
   as a criminal co-conspirator and not an attorney. Yes, they had obtained
   evidence of Ginsparg’s role in Esformes’s criminal conduct, but they had also
   received information that he was an attorney and handled legal affairs for
   Esformes. Yes, he was not licensed in Florida, but he was licensed in Illinois.
   Their myopic view of Ginsparg as a criminal and not an attorney skewed their
   reaction to, and blurred their ability to see, the potential for privilege.
          But, these same prosecutors had, on numerous occasions in this case,
   consulted with superiors at the United States Attorney’s Office and the
   Department of Justice, consulted with attorneys in the DOJ Professional
   Responsibility Advisory Office (“PRAO”), established a taint team for the search
   of the Eden Gardens and established a taint team for the Delgado recordings.
   By the time they testified at the hearing before Magistrate Judge Otazo-Reyes,
   they knew that the “Descalzo documents” were in no way inculpatory and were
   a drop of water in the sea of evidence against Esformes. Why would they
   conspire with each other and risk their careers to create a “new narrative” over
   this issue? It’s inconsistent with their conduct throughout the case. The Court
   finds an articulable basis in the record to find that the prosecution team did
   not engage in any intentional misconduct in the case.

         VI.   Ginsparg / Esformes Text Messages

         The Government included texts between Ginsparg and Esformes on its
   “Hard Drive One,” which Judge Otazo-Reyes found to be privileged material
   that should not be admitted at trial. However, the Government has agreed not
   to use these text messages at trial, rendering any suppression question moot.
   Nonetheless, the Court believes it is worthwhile to consider this issue to assess
   the Government’s general conduct and any prejudice that Esformes may have
   suffered notwithstanding the Government’s recent concession.

         1. Relevant Facts

         Esformes retained attorney Debra Chames in September 2015 to
   represent him in his divorce from his wife Sherri. During the course of the
   representation, a difficulty arose with respect to the communications between
   Esformes and Sherri because Esformes did not utilize e-mail and the tone of
   the communications between the two was less than amicable.
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         To overcome this difficulty, Esformes would dictate his responses to
   Ginsparg and Ginsparg would basically put it in an e-mail format and send it
   to Sherri. Esformes and Ginsparg communicated for this purpose via text
   message. Chames also communicated extensively with Esformes via text
   message regarding “a multitude” of divorce issues.
         Ginsparg’s role in the divorce was to revise or clean up text messages or
   e-mails from Esformes to Sherri and Ginsparg knew that those e-mails and text
   messages were being used and were in connection with the divorce. Chames
   considered the text messages between Esformes and Ginsparg in connection
   with the divorce to be privileged legal communications because Esformes was
   getting advice from his lawyer, Ginsparg. Among the members of the synagogue
   that both Chames and Ginsparg attend, it was common knowledge that
   Ginsparg was an attorney in Chicago who had moved down to Florida around
   the time that Esformes relocated from Chicago and was Esformes’s lawyer.
         During the Ginsparg reverse proffer, Young used text messages between
   Esformes and Ginsparg to show that Esformes was clearly in charge and telling
   Ginsparg what to do. Ginsparg’s counsel did not make a privilege claim with
   regard to the text messages at any time between the reverse proffer and the
   November 2, 2016 work-product claim, or thereafter.
         These text messages were turned over to the defense after they were
   copied from the cell phones of Esformes which had been seized at the time of
   his arrest. Bradylyons testified that he reviewed an email from Pasano
   providing attorney names (and numbers) for whom communications with
   Esformes were privileged but Ginsparg’s name was not included in that list and
   was never added to it. Attorney Arteaga-Gomez testified that Ginsparg’s name
   was not on the list but that Young was already aware that Ginsparg
   represented Esformes,

            2. Privileged Nature of Texts

          Judge Otazo-Reyes found that the Ginsparg/Esformes text messages in
   the Government’s “Hard Drive One” are protected by the attorney-client
   privilege. The Government does not appear to contest this fact and has
   conceded that it will not use this text messages as evidence at trial. The Court
   need not address the propriety of Judge Otazo-Reyes’s ruling as to this issue.
   Not all communications between a client and his attorney are privileged and
   the privileged nature of these text messages was not readily apparent upon first
   review.
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         VII.   Suppression, Dismissal of Indictment, & Disqualification

         In support of her recommendations, Judge Otazo-Reyes concluded that
   Esformes had sufficiently met his burden of showing misconduct on the part of
   the Government, though not to the level of extraordinary misconduct found in
   other cases. Compare Shillinger v. Haworth, 70 F.3d 1132, 1142 (10th Cir.
   1995)(finding per se constitutional violation where prosecution obtained details
   of defense strategy from deputy sheriff who supervised jail cell meetings
   between defendant and his counsel, and modified own strategy accordingly);
   United States v. Horn, 811 F. Supp. 739, 750–51 (D.N.H. 1992) rev'd in part on
   other grounds, 29 F.3d 754 (1st Cir. 1994) (finding prosecutorial misconduct
   where prosecutor surreptitiously obtained duplicate copies of documents
   selected by defense counsel from document repository maintained by an
   independent vendor, used them during the pendency of a motion to seal, and
   kept a duplicate set of the documents in violation of the court’s sealing order).
   As for the prejudice prong, Judge Otazo-Reyes found that Esformes had met
   his burden “to some extent.” In light of these conclusions, she recommended
   less drastic remedies than those requested by Esformes. As previously noted,
   she recommended that the following documents be suppressed:

         1.     Any documents from the Eden Gardens search that are
                found by the Court to be privileged after Defendant’s
                privilege log is litigated.
         2.     The “Descalzo documents,” including the Bengio notes and
                the Excel/QuickBooks spreadsheets.
         3.     The Ginsparg/Esformes text messages related to Esformes’s
                divorce that were listed by the Government as trial exhibits.
         4.     The recordings made by the Delgado brothers and any
                testimony by them regarding the contents of those
                recordings.

         Esformes argues that the Government’s disregard for his rights warrant
   not only the suppression of the Government’s ill-gotten evidence, but also the
   dismissal of the Third Superseding Indictment or the disqualification of the
   prosecution team. Esformes believes that he has been prejudiced sufficiently to
   warrant this kind of relief. In contrast, the Government contests that there was
   any bad-faith, intentional misconduct or demonstrable prejudice to Esformes.
         Ultimately, the Court agrees with Judge Otazo-Reyes that the
   prosecutors and agents in this case failed to uphold the high standards
   expected from federal agents and prosecutors from the United States Attorney’s
   Office and Department of Justice during this investigation and prosecution.
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   But the Court does not agree with her conclusion that the prosecutors acted in
   bad faith. Nor does the Court believe that the prosecutors acted with any overt
   intent to violate the Defendant’s rights or mislead the Court. Although the
   prosecution team operated in good faith, their execution of their duties was
   often sloppy, careless, clumsy, ineffective, and clouded by their stubborn
   refusal to be sufficiently sensitive to issues impacting the attorney client
   privilege.
          Based on the Court’s review of the record, the relevant legal authorities,
   and after considering the parties’ oral arguments, the Court finds that although
   the Government conducted multiple errors over the course of its investigation
   and infringed on Esformes’s attorney-client and/or work product privileges, the
   Court is unconvinced that it must go beyond Judge Otazo-Reyes’s rulings and
   dismiss the Third Superseding Indictment or disqualify the prosecution team.
          Although Judge Otazo-Reyes found that Esformes had met his burden to
   show prejudice “to some extent,” the Court finds that some of Judge Otazo-
   Reyes’s reasons for reaching this conclusion are now moot. The Government
   has conceded that it will not rely on the Bengio notes, the texts between
   Ginsparg and Esformes, or any other document that this Court deems
   privileged from the Eden Gardens search. So, to the extent the Court agreed
   with Judge Otazo-Reyes’s recommendation that these documents were to be
   suppressed at trial, it is now unnecessary for the Court to provide such relief.
          Further, the Court disagrees with Judge Otazo-Reyes’s main ruling on
   the recordings of Esformes by the Delgados. Despite the Government’s failure
   to obtain prior judicial approval, the Court finds that it did not intentionally
   intrude the defense camp given that the Delgados had already pled and were
   cooperating with the Government. The Court deviates from Judge Otazo-
   Reyes’s ruling in this regard because the Court finds that the Government’s
   investigation into Esformes’s potential obstruction of justice was separate and
   apart from its charges for health care fraud and the parties’ JDA terms. The
   Court also finds that there was no violation of the Florida “no contact” rule
   and, even if such a violation was established, such violation does not justify
   exclusion of the recordings.
          The Court finds that neither dismissal of the indictment nor
   disqualification of counsel is warranted on this basis alone.
          However, the Court does find it necessary to suppress certain of the
   recordings. In particular, the Government may not introduce any tapes in
   which attorneys are present or any portions of the conversations in which the
   parties discuss legal strategy as to Esformes’s alleged health care scheme
   except to the extent that those conversations relate to the preparation of false
   exculpatory affidavits.
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         VIII. Conclusion

         The Court therefore adopts in part and declines to adopt in part Judge
   Otazo-Reyes’s Report (ECF No. 899). The Court denies Esformes’s Motion to
   Dismiss (ECF No. 278) and denies the Motion to Disqualify (ECF No. 275).

         Done and ordered in Miami, Florida this 13th day of November, 2018.



                                      ________________________________
                                      Robert N. Scola, Jr.
                                      United States District Judge
